                 Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 1 of 39
  Message
  Message
  From:
  From:          Eric Christensen
                 Eric Christensen [/O=EXCHANGELABS/OU=EXCHANGE
                                  [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATI       VE GROUP
                                                                      ADMINISTRATIVE GROUP
                 (FYDIBOHF23SPDLT)/CN
                 (FYDI                   =RE Cl
                       BO HF 23SPDLT)/CN =RE CIPI  ENTS/CN=C670E308519241818135F75DC97435E2-ECHRISTENSE]
                                                Pl ENTS/CN =C670E308519241818135F75DC97 435E2-E CHRISTE NSE]
  Sent:          2/12/20218:13:08
                 2/12/2021           PM
                             8:13:08 PM
  To:
  To:            Sergio Buniac [        @motorola.com]
  Subject:       Google Search
                 Google Search Agreement
                               Agreement details
                                         details
  Attachments:   2020 Google
                 2020 Google Revenue
                              Revenue Search
                                      Search Agreement
                                             Agreement Summary (Mobile Incentive
                                                       Summary (Mobile Incentive Agreement) (1).pptx; Lenovo
                                                                                 Agreement) (1).pptx; Lenovo New
                                                                                                             New RSA
                                                                                                                 RSA (Fully
                                                                                                                     (Fully
                 Executed). pdf
                 Executed).pdf



  Sergio,
  Sergio,

  Per your
  Per your request
           request in
                   in today's
                      today's call,
                              call, here
                                    here is
                                         is a
                                            asummary
                                              summary of
                                                      of the Google Search
                                                         the Google Search agreement
                                                                           agreement as
                                                                                     as well as the
                                                                                        well as the full contract.
                                                                                                    full contract.

  Happy to
  Happy to answer
           answer questions.
                  questions.

  Thanks,
  Thanks,
  Eric
  Eric




                                                                                                                Exhibit
                                                                                                               PX 1231
                                                                                                   EXHIBIT 1231
CONFIDENTIAL
CONFIDENTIAL                                                                                      MOTO-NDCAL-002071
                                                                                                  MOTO-N            07
                                                                                                         DCAL-00207107

                                                                                                          EXHIBIT 1231-001
Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 2 of 39




                                                             EXHIBIT 1231-002
                             Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 3 of 39




  •Q                    Summary of 2020 Google Revenue Search Agreement
                                                              Agreement (RSA)
                 Google Mobile Incentive Agreement (RSA) will be the single Google Revenue agreement beginning Feb 1, 2020*


               I
               -
                Key Term                      Description
                                                                                                                                                -1
                  Term
                  Term                        Feb 1, 2020-
                                              Feb 1, 2020- Jan 31,, 2022
                                                           Jan 31   2022 (Google
                                                                         (Google has
                                                                                 has renewed
                                                                                     renewed for
                                                                                             for year
                                                                                                 year 2)
                                                                                                      2)
                                                                                                                                                H
                  Business Groups
                  Business Groups             MBG, PCSD and
                                              MSG, PCSD and Medion
                                                            Medion
               I
               -                          -                                                                                                     H
                Geographies
                Geographies               All countries included
                                          All countries  included in the MADA
                                                                  in the MADA agreement
                                                                              agreement (China
                                                                                        (China is
                                                                                               is excluded
                                                                                                  excluded in
                                                                                                           in the
                                                                                                              the MADA agreement so
                                                                                                                  MADA agreement so out
                                                                                                                                    out
                                          of scope forth
                                                    for this
                                                          is agreement)
                                                                                                                                                H
                  R&Os
                  R&Os                        Risk remains low for FY2020,
                                                                   FY2020, ririsk
                                                                              sk of monthly revenue in 2021 dropping from $6M to $3.9M due to
                                              omitting Google Key on select North American devices
               I
               -
                CY2020 Incentives             $8M one-time bonus for Foundation Tier Devices (SP+
                                              $SM                                            (SP + tablets) if 55M
                                                                                                               55M Devices achieved in 2020
                                              or 50M Foundation Tier Phones



     • Other agreements will be terminated once this is executed; if overlap Google can net off the amount Google provides
     *                                                                                                                           otheragreements
                                                                                                                  provides under other agreements
     from the
     from the amount
              amount of
                     of Premier
                        Premier Tier
                                 TierMonthly
                                     Monthly Incentive
                                             Incentive

        Company must
     ** Company
     **                   all the
                must meet all the requirements
                                  requirements setforlh
                                               set forth in
                                                         in Sections 4(Foundation
                                                            Sections 4             TierDe
                                                                       (Foundation Tier    vice), Sections
                                                                                        De vice), Sections 5
                                                                                                           5 (Premier Tier De
                                                                                                             (Premier Tier Device)  and 7
                                                                                                                              vice) and 7
     (Company Obligations) to earn this incentive the            underthe
                                                  the incentives under the agreement
                                                                           agreement
o
02016.  62S. u~
  201e. Mab"cta      Ut. camoorrw.
                M202 u.c t014rflo,TIAL




                                                                                                                                  EXHIBIT 1231-003
                          Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 4 of 39




  •Q

                                                                                                                I
                      Impact of non-compliance

          •• Compliant device %
                              % (applies to total activations,
                                                  activations, not SKUs)
                                                                   SKUs)


                                                                                                           -
              rProportion
               Proportion                      Monthly Revenue
                                               Monthly Revenue 2020
                                                               2020 (Lenovo)
                                                                    (Lenovo)   y MonthlyRevenue 2021
                                                                                Monthly Revenue 2021 (Lenovo)
                                                                                                     (Lenovo)

               >95%                            $5.3m                            $6.Om
                                                                                $6 .0m
              I
              -
               80%-- 94%
               80%   94%                       $3.5m                            $3.9m
                                                                                $3 .9m

               60%-79%
               60% - 79%                       $1.6m
                                               $1 .6m                           $1.8m
                                                                                $1 .8m
              I
              -
               40% --59%                       $700k                            $700k

                 20% --39%
                 20%   39%                     $550k                            $550k
                                                                                                           -


         Additional Details




o
02016.  62S. u
  201e. Mab"cta   ~ u.c camoorrw.
                Mth2aC. CONrOOlTIAL




                                                                                                     EXHIBIT 1231-004
                            Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 5 of 39




  •Q Requirements
              •• "All devices" means all Android devices in ROW markets (not China), which includes Android Tablets
                 smartphones,, and Jerry's smartphones that ship outside of China starting in 2020
                 smartphones
              •• Our obligations include everything we do in the current RSA plus
                                                                               plus,,
                                                                                              2020..
                                                                                                              Tablets,, Median




                   o Assistant button on all devices (some exceptions in early 2020 due to timing and for foldables)
                   o
                                                                                                                        Medion
                                                                                                                                            I
                   o Several more preloads including Google Pay, Google Wallet and others
                   o                                                                   others..
                   o We allow 4
                   o            4 additional screens in out-of-box setup to promote Google services
                                                                                           services..
                  o They dictate app placement of default home screen and +1 screen
                  o                                                                   screen.. The -1
                                                                                                    -1 screen remains "Google Discover"
                     like today.
                  o Google Power Button Experience to be mapped to additional functionality based on Google's requirement
                  o
                     (probably Google wallet for payment)
              •• We are prohibited from:
                  o Pre-loading our own or third party apps that are similar to theirs including:
                  o                                                                       including: Wallets,           apps,, Browsers
                                                                                                      Wallets , payment apps   Browsers,,
                              providers,, other assistants like Alexa,
                     Search providers                           Alexa , or apps that download other apps such as Digital Turbine or
                     another app store

            Carrier waivers:

              •• Requirement(s) can be waived on aa carrier SKU if we can reasonably demonstrate we won
                                                                ifwe                                won't
                                                                                                        't get ranging.
              •• No waiver process would apply to US retail SKUs.

o
02016.  ,2S. u~
  201e. Mab"cta      Ut. camoorrw.
                Mth2 u.c t0111t01102L




                                                                                                                         EXHIBIT 1231-005
                           Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 6 of 39




  •Q                              & Conditions

                                                                                                                    I
                      Other Terms &




     •• If Google fifinds             [15%] volume drop,
                     nds greater than [15%)           drop , Google may (I)(i) withhold from the Premier Tier
        Monthly Incentive an amount proportional to the percentage that Company is lower than the
        corresponding Baseline Value in the next month,
                                                     month , and/or (ii) reduce the amount of Premier Tier
                                            until the next measurement period.
        Monthly Incentive proportionately until

     •• Google gets proportional downside protection if our quarterly activations are less than 15% YoY.
                                                                                                      YoY . If
        our quarterly activations are less than 40% YoY,
                                                    YoY , they have the right to term
                                                                                 terminate      deal- We get
                                                                                      inate the deal.
        proportional upside if we activate more than 15% over the 50m units in         2.
                                                                               in year 2.

     •• Additional
        Add itional incentives are included if we upgrade all of our devices (OS upgrades);
                                                                                  upgrades); may forgo given
        net business case is negative given the number of devices we are planning
                                                                              planning..




o
02016.  62S. u~
  201e. Mab"cta      Ut. camoorrw.
                Mth2 u.c CUNrOOlTIAL




                                                                                                           EXHIBIT 1231-006
                           Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 7 of 39




  Q Potential Risks & Restrictions
  •                   Potential Risks & Restrictions

      •• Any deviation in the portfolio
                              portfolio,, where device would not be considered a
                                                                               a Foundation Tier device;
                                                                                                 device; cannot do Amazon editions
         beginning
         beginn         1, 2020.
                ing Feb 1,

      •• All BU's must comply with the agreement;
                                       agreement; no deviation can occur to receive the maximum revenue


      •• Google Key - under discussion (carriers do not want this
                                       -                     this;; Google should give waivers for carriers but not retailers;
                                                                                                                    reta ilers ; Products
         are Kiev,
             Kiev, Borneo
                   Borneo,, Minsk, Guam,, Denver,
                            Minsk, Guam   Denver, and Viking (subject to ranging) in NA)


      •• Prohibited to load our own apps similar to Google payment apps
                                                                   apps,, Browers
                                                                          Browers,, Search providers
                                                                                           providers,, other assistants like Alexa,
                                                                                                                             Alexa , or
         apps that download other apps such as Digital Turbine or another app store

      •• Waivers for carrier SKUs
                             SKUs;; low risk but needs to be managed carefully


      •• Volume drop of more than 15% can trigger Google to withhold and/or reduce the premier tier monthly incentive

      •• Google may terminate the Agreement with an immediate effect if Company is more than 40% lower in activations compared
         to the corresponding Baseline Value.
                                       Value .

      •• Company will use best efforts to ensure a  aminimum of 20% of Premier Tier Devices activations
                                                                                                  activations,, for every twelve-month
         period,, are in the following geographies:
         period                        geographies: the United States
                                                               States,, Canada
                                                                        Canada,, Japan
                                                                                 Japan,, Australia,
                                                                                         Australia , and New Zealand. If the above
                              met, Google may decrease in its sole discretion the amount of Premier Tier Monthly Incentive.
         percentage is not met,                                                                                        Incentive.
o
02016.  62S. u~
  201e. Mab"cta      Ut. camoorrw.
                Mth2 u.c CUNrOOlTIAL




                                                                                                                       EXHIBIT 1231-007
     Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 8 of 39




thank you
Note: Moto branded products are designed and
manufactured by or for Motorola Mobility LLC,
awholly owned subsidiary of Lenovo.
a




                                                                  EXHIBIT 1231-008
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1  -4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
                Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 9 of 39
             Google Confidential



                                                GOOGLE MOBILE INCENTIVE AGREEMENT

                                                    Google LLC                   Mobile Partnerships: Ethan-Young
                                                    Google Asia Pacific Pte.     Chang, Christopher
                                                                                         Christopher Li
                                                    Ltd.                         Partner Engineering: Alex
                                                                                 Partner Engineering: Alex Medina,
                                                                                                           Medina, lwei
                                                                                                                   Iwei
                                                    Google Ireland
                                                    Google  Ireland Limited
                                                                    Limited

                                            I
                                                                                 Lin
                                                p   Google Commerce
                                                                                        Legal Marie Mackey
                                                                                 Google Legal:      Mackey
                                                    Limited

                                                    Address for Legal Notices:




                                                      COMPANY CONTACT
                                                              CONTACT DETAILS
                                       Company Contact               Company Technical           Company Legal
                                       Information:                  Contact:                    Notices to:
                        Attention: Eric Christensen                           Ilag
                                                                     Michelle llag               Lanqing Wang
                                     Exec.Director
                             Title· Exec. Director SW
                                                   SW
                             Title:                                  Account Manager             Commercial Counsel
                                   · Product Management
                            city,
                   Address, City,
                          State,
                     Postal Code,
                        Country:
                        Country:
                           Phone:
                              Fax:


                            Email:                    @motorola.c
                                                      @motorola.c              @motorola.com
                                                                               @motorola.com          cmotorola.com
                                                                                                      @motorola.com
                                       om
             Effective Date: February 1, 2020
             Initial Term:
                     Term: Starting
                           Starting on
                                    on the
                                       the Effective Date and continuing
                                                              continuing through
                                                                         through January
                                                                                 January 31, 2021
                                                                                             2021 (inclusive)
             (Initial Term").
             ("Initial
             Extension: Google may determine at its sole discretion to extend the Initial Term through January 31,
             2022. Google will notify Company of its decision by October 1, 2020.
             Term: The "Term"
                        'Term" means the Initial Term and, if Google elects to extend the Initial Term, the
                       (Term").
             Extension ("Term").




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                 MOTO-NDCAL-002071
                                                                                                     MOTO-N            09
                                                                                                            DCAL-00207109

                                                                                                                 EXHIBIT 1231-009
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 10 of 39
             Google Confidential


             This Google Mobile Incentive Agreement,
                                            Agreement, including all attachments
                                                                      attachments (collectively referred to as
                                                                                                            as the
             "Agreement"), effective as of the date noted above (the "Effective Date"), is made between:

             GOOGLE LLC, organized in the statestate of
                                                     of Delaware, GOOGLE
                                                                  GOOGLE ASIA PACIFIC PTE. LTD., organizedorganized inin
             Singapore, GOOGLE IRELAND LIMITED, organizedorganized in Ireland, and
                                                                               and GOOGLE
                                                                                   GOOGLE COMMERCE
                                                                                              COMMERCE LIMITED,
             organized in Ireland (In this
                                      this Agreement, "Google" will
                                                                will mean Google LLC, Google AsiaAsia Pacific Pte. Ltd.,
             Google Ireland Limited, and/or
                                       and/or Google Commerce Limited as   as the
                                                                              the context requires), on the
                                                                                                        the one
                                                                                                            one hand;
             and

                                                               (Company"), and,
             LENOVO GROUP LTD, organized in Hong Kong ("Company"),          and, solely
                                                                                   solely for
                                                                                          for the
                                                                                              the purpose
                                                                                                  purpose of
                                                                                                           of receiving
                                                                                                              receiving
             payments under this Agreement on behalf of Company, MOTOROLA MOBILITY LLC (Designated       ("Designated
             Payee"), a
                      a Delaware limited liability company and an Affiliate of Company whose principal place of
             business is
             business is at
                         at 222 W. Merchandise
                            222 W. Merchandise Mart,
                                                  Mart, Suite
                                                        Suite 1800
                                                              1800 Chicago, Illinois, 60654,
                                                                   Chicago, Illinois, 60654, USA
                                                                                               USA (or  any successor
                                                                                                    (or any successor
             Designated Payee requested by Company and   and accepted by Google
                                                                         Google pursuant to Section 11.4), on    on the
                                                                                                                    the
             other hand.



                                                            BACKGROUND

             A.
             A.       Company desires
                      Company     desires to receive, and
                                          to receive, and Google
                                                          Google wishes
                                                                 wishes to
                                                                         to provide,
                                                                            provide, certain   financial incentive
                                                                                       certain financial           in
                                                                                                         incentive in
                      relation to Company's
                                  Company's Android phones and tablets, as
                                                                        as set out
                                                                               out in
                                                                                   in the Agreement below;

             B.
             B.       Company is
                      Company   is willing
                                   willing to
                                           to ensure
                                               ensure on
                                                       on its Android phones
                                                          its Android phones and tablets an
                                                                             and tablets    enhanced experience
                                                                                         an enhanced            for
                                                                                                     experience for
                      end users, as
                                 as set out inin the Agreement
                                                     Agreement below; and

             C.       Nothing in this
                                    this Agreement
                                         Agreement is intended to    to restrict
                                                                         restrict Company from
                                                                                             from entering into
                                                                                                             into incentive
                                                                                                                    incentive
                      agreements with other
                                         other parties that are
                                                            are not in violation of this
                                                                                    this Agreement,
                                                                                         Agreement, or
                                                                                                    or to restrict end users
                                                                                                                       users
                      from installing or using alternatives to the Google Applications on Company's Android phones
                      and tablets.
                          tablets.


                                                             AGREEMENT

             1.
             1.       DEFINITIONS
                      DEFINITIONS

             1.1      "Active Foundation Device" means on or after the applicable Launch Date, a a Foundation Tier
                      Device that has checked-in to Google servers via Google Applications at least once in the 28
                      days before the Measurement Date (Security) (as
                                                                   (as defined in
                                                                               in Section
                                                                                  Section 1.19).

             1.2      "Ad" means an advertisement served by Google to an End User.

             1.3      "Affiliate(s)"
                      "Affiliate(s)" means, with respect
                                                    respect to
                                                            to Google or
                                                                      or Company, any  any current or
                                                                                                   or future
                                                                                                      future company
                      controlling,
                      controlling, controlled by, or
                                                  or under common
                                                           common control with Google or Company, as  as the
                                                                                                         the case may
                      be, where "control" means ownership, directly or indirectly, of the shares of a      a company
                      representing fifty percent (50%) or more of the
                                                                  the voting rights in
                                                                                    in such company
                                                                                            company for the
                                                                                                         the portion
                                                                                                             portion of
                      the Term
                          Term during which
                                        which such company meets this criteria.

             1.4      "Alternative Assistive Service" means any assistive service that is substantially similar to
                      Google
                      Google Assistant
                              Assistant (as determined by Google in its sole
                                                                        sole discretion).
                                                                             discretion).

             1.5      "Alternative Functions" means any applications, features, or functionality that are substantially
                      similar to
                      similar to the
                                 the following (as determined
                                     following (as determined by
                                                              by Google
                                                                 Google inin its
                                                                             its sole discretion): Chrome
                                                                                 sole discretion):  Chrome Browser,
                                                                                                             Browser,
                      Phone, Contacts, Messages, Gboard, Gmail, Google Calendar,
                                                                              Calendar, Google Lens, Google One  One
                      (Backup & & Restore), Google Pay, and Google Photos.
                                                               2
                                                               2




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                   MOTO-NDCAL-002071 10
                                                                                                       MOTO-NDCAL-00207110

                                                                                                                    EXHIBIT 1231-010
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 11 of 39
             Google Confidential


             1.6      "Alternative Play Service" means any service that is substantially similar to Google Play (as
                      determined by Google in its
                                              its sole discretion).

             1.7      "Alternative Search Service" means any search service that is substantially similar to Google
                      Search
                      Search (as determined
                                 determined by Google in
                                                      in its sole discretion).
                                                                  discretion).

             1.8      "Alternative Service" means any Alternative Search Service, Alternative Visual Search
                      Service, Alternative Assistive Service, Alternative Play Service, or Alternative Functions.

             1.9      "Alternative Visual Search Service" means any visual search service that is substantially
                      similar to Google Lens, excluding such a
                                                             aservice that: (a) is solely developed, branded, owned,
                      and made available by Company only for Devices, and (b) does not incorporate or rely upon
                      any third-party commercial or consumer service (in each case as determined by Google in its
                      sole discretion).

             1.10
             1.10     "Android" means the
                      "Android" means        open-source application
                                        the open-source    application framework,  libraries, runtime,
                                                                       framework, libraries,  runtime, and kernel which
                                                                                                       and kernel which
                      are
                      are published atat http://android.qcoqlesource.com
                                          http://android.googlesource.com (or successor sites) as      as integrated in
                                                                                                                      in
                      accordance with the instructions published at https://source.android.com
                                                                      https:/fsource.android.com (or successor sites),
                      and any software development kits (SDK) made available at http:/Ideveloper.android.com
                                                                                       http://developer.android.com (or
                      successor sites).

             1.11     "Android
                      "Android Compatible Device(s)" means, for each version of Android, phones and tablets that
                      comply with the Android Compatibility Definition document, which can be found at the Android
                      compatibility         (http:/Isource.android.com/compatihiflty (or successor sites) and which
                      compatibility website (http://source.android.com/compatibility                          which
                      may be updated from time to time).

             1.12     "Android Go Device" means Low Ram Devices as specified in the current and effective
                      Android Go Amendment
                                 Amendment to
                                           to the
                                              the MADA.

             1.13     "Application Dock" means the collection of applications on the bottom row of the Default Home
                      Screen which is also visible in the same location and format on all screens (except on the Minus
                      One Screen) regardless of End User's subsequent swipes to the left or the right.

             1.14     "Assistant Access Point" refers to the following points on a  aDevice (which Google may update
                      in its sole discretion): the assist intent when
                                                                 when invoked via
                                                                              via long press
                                                                                       press on the
                                                                                                the home button
                                                                                                          button or
                                                                                                                 or via
                                                                                                                    via
                      a
                      a hardware or  or other physical affordance
                                                         affordance on the Device,
                                                                            Device, the
                                                                                     the Google Gesture,
                                                                                                  Gesture, the
                                                                                                           the Google
                                                                                                               Google
                      Hotword, the Google Search Application, and Messages (if preloaded), and excludes points on
                      any other Google, Company, or third-party service or applications.

             1.15     "Baseline Value" means the total number of activations for smartphone or tablet Devices during
                      calendar year 2019, either a
                                                 a quarter or the full calendar year.

             1.16     "Chrome
                      "Chrome Browser" means Google's Chrome browser.

             1.17     "Client Application" means any application, plug-in, helper, component, or other executable
                      code that runs on an End User's Device.

             1.18     "Client ID(S)" means the unique alphanumeric code(s) that Google provides to Company
                      "Client ID(s)"
                      pursuant to this Agreement that is used to identify Devices.

             1.19     "Compliance
                      "Compliance Target (Security)" means that, as measured on the 28th day of a        a particular
                      calendar month ("Measurement Date (Security)"),
                                                           (Security)"), for each Device Model of Active Foundation
                      Devices, at least 25% of the Active Foundation Devices of the applicable Device Model have


                                                                  3
                                                                  3




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                               MOTO-NDCAL-002071 11
                                                                                                   MOTO-NDCAL-00207111

                                                                                                                EXHIBIT 1231-011
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 12 of 39
             Google Confidential


                      had a
                          a Security Update performed with a
                                                           a security patch level no more than 90 days old as at the
                      Measurement Date (Security).

             1.20     "Contacts" means Google's contacts management Android application.

             1.21     "Default  Functions" means the following applications will serve as the default Android system
                      "Default Functions"
                      intents: Chrome Browser, Files by Google, Gboard, Gmail, Google Calendar,
                                                                                              Calendar, Google Pay,
                      Google Photos, Google Play, Messages, and Phone. Google may add new default Android
                      system intents in the future and both parties will discuss in good faith whether such changes
                      can
                      can be technically
                              technically made and,
                                                and, if so, on
                                                            on what
                                                               what timeline.
                                                                    timeline.

             1.22     "Default
                      "Default Home Screen" means the layout(s) of icons and widgets (prior to any changes made
                      by End User) thatthat are
                                            are visible across all display(s) on a
                                                                                 a Device immediately after a   a Launcher
                      starts, including the
                                         the lock screen and/or the notification tray.
                                                                                 tray. For clarity,
                                                                                           clarity, if a
                                                                                                       a Device has multiple
                      displays of sufficient size (the parties agree that, as atof the Effective Date, this means greater
                            2.7" but may be adjusted over time), then such Device has (1) multiple Default Home
                      than 2T
                      Screens
                      Screens if itit has multiple layouts such as a  a foldable
                                                                        foldable device; and
                                                                                          and (2) only oneone Default Home
                      Screen if it only has aa single layout across multiple displays.

             1.23     "Destination  Page" means any web page (or equivalent) which may be accessed by clicking
                      "Destination Page"
                      on any portion of
                                     of any Valid Result or
                                                         or Ad.
                                                            Ad.

             1.24     "Device"
                      "Device" means each Android Compatible Device manufactured by Company or a                  a Company
                      Affiliate and
                                and approved
                                    approved by Google that
                                                          that is sold or
                                                                       or distributed in the
                                                                                         the Territory
                                                                                             Territory during
                                                                                                       during the Term
                                                                                                                  Term under
                      the MADA or, forfor Devices distributed
                                                  distributed in
                                                               in the EEA, the EMADA.

             1.25     "Device Model" refers (1) on and after April 1, 2020 (or a   alater date, in which case Google will
                      provide Company with a   a written notice no later than February 29, 2020), to "Product" as defined
                      in     the     Google        Mobile        Services     (GMS)        Requirements      found      at
                      https://support,goog le. corn/a rid raidpartners qms/answer/7351400, as may be updated from
                      https://support.qoogle.com/andmidpartners
                      time to time, and
                                    and (2) prior toto April
                                                       April 1, 2020, to
                                                                       to a
                                                                          a Device as it is sold and marketed
                                                                                                     marketed to
                                                                                                               to the
                                                                                                                  the End
                      User.
                      User.

             1.26     "EEA"
                      "EEA"            means         those          countries        set         forth       in
                      https://support.qoogle.com/androidpartners. qris/answer/9071728
                                                                  qms/answer/9071728 (or such other
                                                                                              other URL as
                                                                                                        as may
                      be provided by Google from time to time).

             1.27     "EMADA"
                      "EMADA" means, for Devices distributed within the EEA, the current and effective European
                      Mobile Application
                               Application Distribution Agreement
                                                        Agreement entered
                                                                  entered into between Google andand Company
                      (including any related amendments or extensions).

             1.28     "End User" means a
                                       ahuman end user of a
                                                          a Device.

             1.29     "Exempted
                      "Exempted Devices" mean the following Devices, which are not required to be configured as
                      Foundation Tier Devices or Premier Tier Devices under this Agreement: (a) the following
                      Medion-developed and
                      Median-developed     and -branded
                                                -branded smartphones and
                                                                       and tablets: El 042X, E1043X,
                                                                           tablets: E1042X,  El 043X, and El 052X, and
                                                                                                      and E1052X,  and
                      any additional Median-developed
                                       Medion-developed and -branded smartphones and tablets approved by Google
                      for Launch between November 1, 2019 and September 30, 2020, (b) NEC-developed and -                  -




                      branded smartphones and tablets approved by Google for Launch between November 1, 2019
                      and
                      and September 30, 2020,
                                            2020, and (c)
                                                        (c) FCCL (Fujitsu Client
                                                                          Client Computing Limited)-developed andand -     -




                      branded and Fujitsu-branded tablets Launched at any time during the Term. For the sake of
                      clarity, none of these Exempted Devices will be counted as a  aFoundation Tier Device or Premier
                      Tier
                      Tier Device, nor will they
                                             they be considered
                                                     considered when calculating the Device Enrollment Base %   % nor,
                                                                                                                   nor,
                      unless expressly specified, any other metric under this Agreement.

                                                                    4
                                                                    4




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                  MOTO-NDCAL-002071 12
                                                                                                      MOTO-NDCAL-00207112

                                                                                                                   EXHIBIT 1231-012
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 13 of 39
             Google Confidential


             1.30     "Files
                      "Files by Google" means the service offered by Google that provides file browsing, storage
                      management, and file
                                       file sharing functionality.
                                                    functionality.

             1.31     "Foundation Tier Bonus Incentive" has the meaning set forth in Attachment A.

             1.32     "Foundation
                      "Foundation Tier
                                  Tier Device" means a
                                                     a Device that meets the requirements set out in Section 4.1.

             1.33     "Foundation Tier Monthly Incentive" has the meaning set forth in Attachment A.

             1.34     "Fraudulent
                      "Fraudulent Act" means an act which (a) directly or indirectly generates queries, actions,
                      impressions of, or
                                       or clicks
                                          clicks on Valid Results or
                                                                  or Ads
                                                                     Ads through
                                                                         through any
                                                                                   any automated,
                                                                                       automated, deceptive,
                                                                                                    deceptive, fraudulent,
                                                                                                                fraudulent,
                      or other
                         other invalid means (including, but not limited to,
                                                                          to, click spam,
                                                                                    spam, robots,
                                                                                            robots, macro
                                                                                                    macro programs, and and
                      Internet agents); or
                                         or (b) encourages
                                                encourages or
                                                            or requires End Users or or any
                                                                                        any other
                                                                                             other persons,
                                                                                                   persons, either
                                                                                                             either with
                                                                                                                     with or
                      without their
                               their knowledge, to taketake actions regarding
                                                                      regarding Ads
                                                                                  Ads through
                                                                                        through any
                                                                                                  any methods that that are
                      manipulative, deceptive, malicious, or fraudulent (including by either clicking on Ads or offering
                      incentives that,
                                 that, in any such case, are
                                                          are manipulative, deceptive,
                                                                             deceptive, malicious,
                                                                                          malicious, or
                                                                                                     or fraudulent).
                                                                                                        fraudulent).

             1.35     "Gesture"       aspecific movement-activated trigger that enables movement commands on
                      "Gesture" means a
                      a
                      a Device which can be provided by either Google (a "Google Gesture"), Company (a
                      "Company Gesture"), or a
                                             athird party.

             1.36     "Gmail" means the email service offered by Google.

             1.37     "Google Applications" means the machine-readable binary code version of the Google
                      applications
                      applications found at https://supportqooglecorn/androidpartners gms/topic/9159858
                                         at https://supportqoogle.com/androidpartners cims/topic!9 159658 (or
                                                                                                          (or such
                      other URL as may be provided by Google from time to time).

             1.38     "Google Assistant" means the assistive service offered by Google that may be accessed or
                      invoked from a
                                   a Device via
                                            via the Assistant
                                                    Assistant Access Points.

             1.39     "Google Calculator" or "Calculator" means the service offered by Google for managing
                      calculator.
                      calculator.

             1.40     "Google Calendar" or "Calendar" means the service offered by Google for managing
                      ca lend ars.
                      calendars.

             1.41     "Google Clock" or "Clock" means the service offered by Google for managing time.

             1.42     "Google Discover" (formerly known as Google Feed) means the service offered by Google
                      that collates and presents certain
                                                  certain information and
                                                                      and content to
                                                                                  to the
                                                                                     the End User on
                                                                                                  on their
                                                                                                      their Device,
                      which may include information and content drawn from the End User's search history and topics
                      selected by the
                                   the End User to follow.

             1.43     "Google Docs/Sheets/Slides" or "Google
                                                     "Google DSS" or "DSS"
                                                                     "DSS" means the productivity service
                      offered by Google.

             1.44     "Google
                      "Google Duo" or "Duo"
                                      "Duo" means the video calling application offered by Google.

             1.45     "Google Folder" means the icon clearly labeled or branded "Google" that provides direct
                      access to the End User-facing Android Go Applications.

             1.46     "Google
                      "Google Home" or "Home" means the service offered by Google for controlling smart home
                      appliances.


                                                                    5
                                                                    5




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                   MOTO-NDCAL-002071 13
                                                                                                       MOTO-NDCAL-00207113

                                                                                                                   EXHIBIT 1231-013
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 14 of 39
             Google Confidential


             1.47     "Google
                      "Google Keyboard" or "Gboard"
                                           "Gboard" means the keyboard application offered by Google for
                      Android.

             1.48     "Google lens"
                              Lens" or "lens"
                                       "Lens" means the visual search service offered by Google.

             1.49     "Google
                      "Google News" or "News" means the application offered by Google that offers End Users
                      access to breaking news stories.

             1.50     "Google One" means the subscription service offered by Google that includes cloud storage
                      and
                      and other subscription member
                          other subscription member benefits.
                                                    benefits.

             1.51     "Google Pay" means the services offered by Google that facilitate in-store payments (and/or
                      other NFC transactions), in-app remote payments, and peer-to-peer payments. Google Pay
                      functionality may be accessed from
                                                    from the Google Pay application
                                                                          application or via
                                                                                         via various
                                                                                             various methods
                                                                                                     methods on
                                                                                                             on an
                      Android-operated device, including via a
                                                             a Google Pay wallet shortcut.

             1.52     "Google
                      "Google Photos" means the photo and video gallery application offered by Google.

             1.53     "Google Play" means the marketplace created and operated by Google, by which digital
                      content, media, and services, including apps, games, books, magazines, video, music or other
                      digital content, media,
                                       media, and services (including subscriptions) are
                                                                                     are distributed.
                                                                                         distributed. Google reserves
                      the right to re-name such marketplace from time to time.

             1.54     "Google Podcasts" means the services offered by Google for accessing spoken audio that
                      may be accessed
                              accessed from
                                       from the
                                            the Google Podcasts app, Google Search, Google Assistant,
                                                                                                  Assistant, Google
                                                                                                             Google
                      Discover, Google Podcasts for web, hyperlinks, or other distribution mechanisms.

             1.55     "Google Product Geo-Availability Chart" means the list of Google Applications and
                      associated          information         (including      geo-availability)
                                                                              gee-availability)    set    out  at
                      https://docsqoogle.cam/spreadsheets/d/1
                      https ://docs .gooq le. com/s preadsheets/d/ 1fyVh5eQCdPy2tX4JpwH3uM
                                                                      fyVh 5eQCd Py2tX4J pwH3u MIlukDoWy-
                                                                                                  ukDoWy-
                      RsFWrxqaXkw4/edit#qid=1812606466
                      RsFWrxcmXk       w4/edit#gid""1812606466 (as such URL may be changed or replaced by Google
                      at
                      at its sole discretion from
                                               from time
                                                    time to
                                                         to time).
                                                            time).

             1.56     "Google Search" means the search and advertising services offered by Google at Google.com
                      (or another
                          another domain owned
                                          owned by
                                                 by Google or its Affiliates
                                                                  Affiliates at which asimilar
                                                                                which a similar service is
                                                                                                        is offered)
                                                                                                           offered) that
                                                                                                                    that
                      may be accessed from
                                         from the
                                              the Google Search Application, the  the Chrome
                                                                                      Chrome Browser, the  the Google-
                                                                                                                Google-
                      provided widget (through which Google Lens and the Google Assistant may be accessed),
                      lmageSearch, third-party browsers, keyboards, and Launchers of a    a Device.

             1.57     "Google
                      "Google Search Application"
                                         Application" means the Google application that includes the following
                      services or features (which Google may update from time to time in its sole discretion): (1)
                      access
                      access to Google Search
                                         Search via
                                                via the
                                                    the Google
                                                        Google Search service icon
                                                                               icon and Google
                                                                                        Google Discover and/or
                                                                                                          and/or its
                      successors;
                      successors; (2) handling of
                                               of voice
                                                  voice searches and search intents;
                                                                             intents; and
                                                                                      and (3) access to the
                                                                                                        the Google
                                                                                                            Google
                      Assistant.

             1.58     "Hotword"
                      "Hotword" means a a voice-activated trigger that enables voice commands on a
                                                                                                 a Device which
                      can be provided by either Google (a "Google Hotword"), Company (a "Company Hotword"),
                         athird party.
                      or a

             1.59     "lmageSearch"
                      "lmageSearch" means visual searching by Device camera, excluding Google Lens, as an input
                      into Google.com (or a
                                          a local domain owned by Google or its Affiliates at which a
                                                                                                    a similar service
                      is offered).

             1.60     "Incentive"
                      "Incentive" means Foundation Tier Monthly Incentive for Foundation Tier Devices, and if

                                                                  6
                                                                  6




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                               MOTO-NDCAL-002071 14
                                                                                                   MOTO-NDCAL-00207114

                                                                                                                EXHIBIT 1231-014
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 15 of 39
             Google Confidential


                      Company complies with the requirements to receive Foundation Tier Bonus Incentive or
                      Premier Tier
                              Tier Monthly Incentive, such
                                                      such incentive as applicable.

             1.61      Incentive Implementation Requirements" means version 1.044 dated 2020-02-04 of the
                      "Incentive
                      technical requirements for
                                              for Incentives which
                                                             which may be updated
                                                                          updated from
                                                                                   from time to time
                                                                                                time by Google in
                                                                                                                in its
                      sole discretion.
                           discretion. Changes
                                       Changes will
                                                 will be communicated
                                                         communicated in writing via
                                                                                 via email or such other
                                                                                                     other format
                                                                                                           format as
                                                                                                                   as
                      Google may require. For convenience, the Incentive Implementation Requirements as of the
                                                              E.
                      Effective Date are attached as Exhibit E.

             1.62     "including"
                      "including" means "including without limitation."

             1.63     "Intellectual
                      "Intellectual Property Rights" means any and all rights existing from time to time under patent
                      law, copyright
                      law,  copyright law,
                                      law, semiconductor   chip protection
                                           semiconductor chip   protection law, moral rights
                                                                           law, moral          law, trade
                                                                                        rights law, trade secret
                                                                                                          secret law,
                                                                                                                 law,
                      trademark law, and any and all other proprietary rights, as well as, any and all applications,
                      renewals, extensions, restorations, and reinstatements thereof, now or hereafter in force and
                      effect
                      effect worldwide.
                             worldwide.

             1.64     "Launch"
                      "Launch" means the initial distribution of a
                                                                 a Device Model in accordance with the terms of this
                      Agreement.

             1.65     "Launch  Date" means, for any Device Model, the first date on which at least five thousand
                      "Launch Date"
                      (5,000) smartphone Devices of any Device Model or at least one thousand (1,000) tablet
                      Devices of any Device Model, as applicable, have checked into Google servers via the Google
                      Mobile Services (GMS) applications.
                                            applications.

             1.66    "Launcher"
                     "Launcher" means a  a user interface that is (1) initiated by the KEYCODE_HOME key event in
                     Android (e.g. pressing on the "home" button or any applicable gesture intended to invoke the
                     Default Home Screen), or
                                            or (2)
                                               (2) started after
                                                           after initial boot-up or
                                                                                 or subsequent power up
                                                                                                     up of
                                                                                                        of the
                                                                                                           the Device.

             1.67     "Letter
                      "Letter Upgrades" means installation of the then latest version of Android made available by
                      Google at http://source.androitlcorn
                                ittp://sourceandroid.com (or any successor sites).

             1.68     "Liability"
                      "Liability" means any liability, whether under contract, tort, or otherwise, including for
                      negligence.

             1.69     "MADA"
                      "MADA" means the current and effective Mobile Application Distribution Agreement entered
                      into between Google and Company (including any related amendments or extensions).

             1.70
             1. 70    "Manufacturer  Suggested Retail
                      "Manufacturer Suggested    Retail Price"
                                                        Price" or
                                                               or "MSRP"
                                                                  "MSRP" means a a Device's recommended retail
                      price to End Users excluding any discounts and any applicable value-added taxes (VAT), as
                      defined at the time of Launch and at the country level for such Device.

             1.71
             1. 71    "Messages"
                      "Messages" means Google's Standard Based Messaging Application that may be used to
                      receive and send standards-based messages (including SMS, MMS, and RCS messages).

             1.72
             1. 72    "Minus
                      "Minus One
                               One Screen"
                                     Screen" means the screen accessed by the End User by swiping their finger once
                      from left to right on the Default Home Screen.

             1.73     "Phone"
                      "Phone" means Google's voice calling application.

             1.74
             1. 74    "Plus One Screen" means the screen accessed by the End User by swiping their finger once
                      from right to left on the Default Home Screen.

             1.75     "Premier Tier Device"
                      "Premier Tier Device" means a
                                                  aDevice that meets the requirements set out in Section 5.1.

                                                                 7
                                                                 7




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                              MOTO-NDCAL-002071 15
                                                                                                  MOTO-NDCAL-00207115

                                                                                                              EXHIBIT 1231-015
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 16 of 39
             Google Confidential


             1.76     "Premier
                      "Premier Tier Monthly Incentive" has the meaning set forth in Attachment A.
                                                                                               A.

             1.77     "quarter"
                      "quarter" or "quarterly"
                                    "quarterly" means, unless otherwise expressly specified in this Agreement, the
                      three consecutive months beginning January 1, April 1, July 1, or October 1, as applicable,
                      which is also
                               also known asas the
                                               the calendar
                                                   calendar quarter.
                                                            quarter.

             1.78    "Query" means any End User query input through a
                                                                    a Search Access Point or an Assistant
                     Access Point.

             1.79     "Release
                      "Release Date" means any day during the Term on which Google makes available the then
                      latest version of Android at http://source.androicl.com
                                                   http://source.android.com (or any successor sites).

             1.80     "Results
                      "Results Page" means the results page rendered through the Search Access Points and the
                      Assistant Access Points in response to aa Valid Query but does not include (1) any Google-
                      owned and -operated site or application (e.g., YouTube, Google Maps, etc.) that runs within
                      Google.com or the applicable Google local country domain, and/or (2) any site or application
                      that is linked to from aresults page.
                                        from a

             1.81     "Search Access Point" means the places on a      a Device, which Google determines in its sole
                      discretion
                      discretion and specifies in
                                               in writing
                                                  writing (as
                                                          (as may be modified from time to time via written notice by
                      Google),
                      Google), that
                                 that are capable
                                          capable ofof utilizing or
                                                                 or invoking
                                                                    invoking Google Search, including
                                                                                              including if Company
                      configures Devices as Premier Tier Devices those access points listed in Attachment B.

             1.82     "Search
                      "Search Launcher Services
                                        Services API"
                                                 API" means API and library sets provided by Google to enhance
                      Google Search Application features on Devices or successor APIsAPls and library sets as
                      designated by Google.

             1.83     "Security
                      "Security Updates" means installation of every element of a     a Google-approved security patch
                      on aaDevice as set out in https://source.android.corn/security/bulletin
                                                  https:i/source.android.rom/security/hulletin (or successor sites) such
                      that all common vulnerabilities and exposures identified by Google and posted in the public
                      security bulletin for
                                        for the date
                                                date of the
                                                        the update,
                                                            update, are fixed,
                                                                        fixed, unless
                                                                               unless otherwise
                                                                                       otherwise approved by Google in in
                      writing.
                      writing.

             1.84     "Service
                      "Service Access
                               Access Point" means an Assistant Access Point or a
                                                                                aSearch Access Point.

             1.85     "Standards-Based
                      "Standards-Based Messaging Application" means an Android Application that enables
                      standards-based messaging (i.e., standards-based messaging services provided (by Telecom
                      Operators, historically) to End Users including SMS, MMS, and RCS).

             1.86     "Taxes"
                      "Taxes" means all government-imposed charges, including taxes, duties, imposts, and
                      withholdings, but not taxes based on Google's or Company's net income, net worth, asset
                      value, property value,
                                      value, or employment.
                                                employment.

             1.87     "Telecom Operator(s)" means a
                                                  acompany that provides wireless service that allows End Users
                      to access the Internet.

             1.88     "Territory"
                      "Territory" or "Territories"
                                     "Territories" means the country or countries in which distribution of one or more
                      Google Applications is permitted as set forth in the Google Product Geo-Availability Chart,
                      which Google may update in its sole discretion, except that Turkey will not be aa Territory.

             1.89     "Transaction
                      "Transaction Taxes"
                                      Taxes" means Taxes that are imposed on the purchase price or cost of goods or
                      services, including value-added taxes (VAT), goods and services taxes (GST), sales taxes, and
                      transfer taxes.


                                                                  8
                                                                  8




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                MOTO-NDCAL-002071 16
                                                                                                    MOTO-NDCAL-00207116

                                                                                                                 EXHIBIT 1231-016
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 17 of 39
             Google Confidential


             1.90     "Valid
                      "Valid Query" means a   aQuery received
                                                        received by Google which:
                                                                               which: (1) contains the the applicable Client
                                                                                                                      Client ID
                      as
                      as specified  by Google
                         specified by  Google to  Company; (2)
                                               to Company;    (2) is
                                                                  is not
                                                                     not generated
                                                                          generated by by any   Fraudulent Act,
                                                                                           any Fraudulent        as reasonably
                                                                                                            Act, as reasonably
                      determined byby Google;
                                      Google; and   (3) has not been modified, deleted, or appended
                                               and (3)                                           appended in whole
                                                                                                               whole or in
                                                                                                                         in part
                                                                                                                            part
                      by Company
                      by Company except
                                     except as
                                            as technically  required in
                                               technically required    in order
                                                                          order to
                                                                                to fulfill the obligations
                                                                                   fulfill the obligations of
                                                                                                           of this
                                                                                                              this Agreement.
                                                                                                                   Agreement.

             1.91     "Valid               asearch
                      "Valid Result" means a search or assistive
                                                       assistive result(s) on a
                                                                              a Results Page that
                                                                                             that results from
                                                                                                          from a
                                                                                                               a Valid
                                                                                                                 Valid
                      Query
                      Query as determined solely by Google.

             2.       SCOPE
                      SCOPE

             2.1      This
                      This Agreement
                            Agreement appliesapplies only
                                                      only to
                                                           to Devices sold or distributed in        in the
                                                                                                       the Territory.
                                                                                                             Territory. Unless
                                                                                                                          Unless otherwise
                      agreed
                      agreed in in writing
                                   writing by by Google,     Company will
                                                  Google, Company           will ensure
                                                                                  ensure that
                                                                                           that all   Devices that
                                                                                                 all Devices             Company sells
                                                                                                                   that Company       sells or
                                                                                                                                             or
                      distributes in
                      distributes      the Territory,
                                    in the               and all
                                              Territory, and         Devices that
                                                                 all Devices    that Company's
                                                                                      Company's Affiliates         sell or
                                                                                                      Affiliates sell   or distribute
                                                                                                                            distribute inin the
                                                                                                                                            the
                      Territory,
                      Territory, meet the
                                        the requirements of a       a Foundation TierTier Device (as setset forth                4.1),
                                                                                                              forth in Section 4.1   ), except
                                                                                                                                        except
                      for (a) Devices distributed solely in Russia where Company and/or Company's Affiliates may
                      choose
                      choose onon aaDevice-by-Device
                                      Device-by-Device basis basis whether
                                                                      whether to to configure
                                                                                    configure a   Device as
                                                                                                a Device     as a  Foundation Tier
                                                                                                                a Foundation            Device
                                                                                                                                  Tier Device
                      and   (b) Exempted
                      and (b)   Exempted Devices.
                                               Devices. Subject
                                                          Subject to      Attachment D,
                                                                       to Attachment      D, Company
                                                                                              Company may   may seekseek and,
                                                                                                                          and, at   Google's
                                                                                                                                 at Google's
                      discretion, obtain
                                     obtain from Google
                                                      Google a    a waiver
                                                                     waiver on some requirements. Subject       Subject to to Section 11.1
                      (Incentive), Company may choose   choose on a     a Device-by-Device basis to configure a           aFoundation Tier Tier
                      Device so
                      Device   so that
                                   that itit meets
                                             meets the
                                                     the additional
                                                         additional requirements
                                                                         requirements for for aa Premier
                                                                                                 Premier TierTier Device
                                                                                                                    Device (as
                                                                                                                             (as set
                                                                                                                                  set forth
                                                                                                                                       forth in
                                                                                                                                              in
                      Section
                      Section 5.1).
                                5.1 ). For the avoidance of doubt, Company is               is under no no obligation to configure any      any
                      Foundation Tier
                      Foundation     Tier Device
                                            Device soso that
                                                        that itit meets
                                                                  meets the
                                                                          the additional    requirements of
                                                                               additional requirements         of a  Premier Tier
                                                                                                                  a Premier    Tier Device.
                                                                                                                                     Device.

             2.2      Company
                      Company is is responsible
                                     responsible for
                                                   for all  acts and
                                                       all acts  and omissions  of Company
                                                                      omissions of  Company Affiliates     in connection
                                                                                                Affiliates in  connection with
                                                                                                                            with
                      Devices, as
                      Devices,  as though
                                    though such
                                             such acts
                                                    acts and/or   omissions were
                                                           and/or omissions  were carried
                                                                                   carried out   by Company
                                                                                            out by   Company itself.
                                                                                                                 itself. For
                                                                                                                         For the
                                                                                                                              the
                      sake of
                      sake     clarity, any
                           of clarity,        act or
                                        any act       omission of
                                                  or omission     of a
                                                                     a Company
                                                                        Company Affiliate
                                                                                 Affiliate that  would be
                                                                                           that would     be a  breach of
                                                                                                              a breach    of this
                                                                                                                             this
                      Agreement if
                      Agreement       carried out
                                   if carried  out by
                                                    by Company,
                                                       Company, will     be deemed
                                                                    will be deemed to   be a
                                                                                     to be    breach of
                                                                                            a breach    of this
                                                                                                           this Agreement
                                                                                                                Agreement by   by
                      Company.
                      Company.

             3.       SETUP REQUIREMENTS

             3.1i
             3.       In respect of any
                                    any Device under this
                                                     this Agreement,
                                                          Agreement, Company must
                                                                             must meet the
                                                                                       the following
                                                                                           following requirements
                                                                                                     requirements
                      (the "Setup Requirements"):

                      (a)
                      (a)       correct implementation
                                correct  implementation on
                                                        on the Device of
                                                           the Device of the appropriate Client
                                                                         the appropriate Client ID(s)
                                                                                                ID(s) in
                                                                                                      in compliance
                                                                                                         compliance with
                                                                                                                    with
                                the following:
                                    following:

                                Google may
                                Google   may provide
                                               provide Company
                                                         Company withwith more
                                                                          more thanthan one   Client ID
                                                                                         one Client     ID (e.g.,
                                                                                                           (e.g., for  Foundation Tier
                                                                                                                   for Foundation     Tier
                                Devices and
                                Devices   and Premier
                                                 Premier Tier    Devices (where
                                                           Tier Devices    (where applicable)
                                                                                       applicable) forfor each
                                                                                                           each of     Google Search,
                                                                                                                   of Google     Search,
                                Google Assistant, etc.). Company
                                                             Company willwill (i)
                                                                              (i) ensure that
                                                                                           that the
                                                                                                  the appropriate
                                                                                                      appropriate Client      ID(S) for
                                                                                                                      Client ID(s)       a
                                                                                                                                     for a
                                particular Device is/are
                                particular Device   is/are correctly  implemented (as
                                                            correctly implemented       (as reasonably
                                                                                            reasonably instructed
                                                                                                            instructed byby Google)
                                                                                                                            Google) on  on
                                such Device prior to its distribution,
                                                            distribution, and (ii) use the applicable
                                                                                               applicable Client ID(s) for  for all
                                                                                                                                all Valid
                                Queries. Google
                                           Google may modify
                                                           modify Client IDs from from time toto time in its its sole discretion
                                                                                                                       discretion upon
                                notice  to Company,
                                notice to   Company, and and Company
                                                               Company will        implement the
                                                                           will implement              modified Client
                                                                                                 the modified       Client ID(s)
                                                                                                                           ID(s) on on all
                                                                                                                                        all
                                applicable Devices within
                                                       within 60 calendar days after Google's notice to          to Company.
                                                                                                                    Company. For the   the
                                sake of clarity,
                                         clarity, Company
                                                  Company may may not
                                                                    not change
                                                                        change the  the Client  ID(S) assigned
                                                                                        Client ID(s)    assigned by  by Google
                                                                                                                        Google without
                                                                                                                                 without
                                Google's prior
                                Google's   prior written  instruction or
                                                 written instruction  or consent,
                                                                         consent, may may only
                                                                                           only implement       Client IDs
                                                                                                  implement Client      IDs on
                                                                                                                            on Devices
                                                                                                                                Devices
                                as instructed by
                                as instructed   by Google,
                                                   Google, and     may not
                                                             and may    not add
                                                                             add newnew Client   IDs to
                                                                                         Client IDs   to any
                                                                                                          any devices    other than
                                                                                                               devices other    than the
                                                                                                                                       the
                                Devices; and
                                           and

                      (b)
                      (b)       correct implementation
                                correct  implementation onon the
                                                             the Device
                                                                 Device of
                                                                        of (i) the Search Launcher
                                                                               the Search Launcher Services
                                                                                                     Services API
                                                                                                              API to  ensure
                                                                                                                   to ensure
                                support for
                                support   for (1)
                                              (1) Google
                                                  Google Discover
                                                           Discover 011
                                                                     on Minus    One Screen
                                                                         Minus One             (in connection
                                                                                      Screen (in   connection with   Section
                                                                                                               with Section
                                4.1(c)),
                                4.1 (c)), (2)  Google Hotword,
                                          (2) Google    Hotword, and    (3) search
                                                                   and (3)    search interface
                                                                                      interface prewarming,
                                                                                                  prewarming, and     (ii) the
                                                                                                               and (ii)    the
                                applicable setup screens in connection with the out-of-box experience, in accordance
                                with
                                with guidelines   and instructions
                                      guidelines and  instructions provided
                                                                   provided byby Google.
                                                                                 Google.
                                                                     9
                                                                     9




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'      -                                                                                MOTO-NDCAL-002071 17
                                                                                                                      MOTO-NDCAL-00207117

                                                                                                                                      EXHIBIT 1231-017
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 18 of 39
             Google Confidential


             4.       FOUNDATION TIER
                                 TIER DEVICE

             4.1
             4.1      Requirements forfor Foundation Tier
                                                        Tier Monthly
                                                             Monthly Incentive.
                                                                      Incentive. For any
                                                                                      any Device
                                                                                          Device toto qualify as aa
                      Foundation Tier Device, and for Company to receive Foundation Tier Monthly Incentive for such
                      Device under this
                                   this Agreement
                                        Agreement in accordance with
                                                                  with Section
                                                                       Section 11 and Attachment A,A, the
                                                                                                      the following
                      requirements must be met:

                      (a)      Company must comply with all Setup Requirements (as set forth in Section 3.1)
                               including
                               including the additional set-up flow integration required in Incentive Implementation
                               Requirements. Company will implement up to  to four
                                                                              four (4) additional
                                                                                       additional Setup
                                                                                                  Setup Wizard Screens
                               ('Google
                               ("Google Services Setup Wizard Screens"). Once Google provides Company with
                               supporting software components for for these Setup
                                                                             Setup Wizard Screens,
                                                                                              Screens, both parties
                                                                                                              parties will
                               collaborate on
                                            on a
                                               a timeline for commercial deployment. For clarity, clarity, these
                                                                                                           these Google
                                                                                                                  Google
                               Services Setup Wizard Screens are incremental to the mandatory Setup Wizard
                               requirements in GMS requirements;

                      (b)     Company must comply
                                              comply with the Incentive Implementation Requirements subject
                                                                                                         subject to
                                                                                                                  to the
                                                                                                                     the
                              following subclauses below and Attachment D. In the event of any direct conflict
                              between
                              between (i) the
                                          the terms in the
                                                       the Incentive Implementation Requirements, and (ii) thethe terms
                                                                                                                  terms
                              of this Agreement, this Agreement
                                                       Agreement will
                                                                   will prevail with
                                                                                with respect to
                                                                                             to the
                                                                                                the directly conflicting
                                                                                                             conflicting
                              terms unless otherwise agreed between the parties.

                               (i)
                               (i)         The
                                           The Device must integrate with and present
                                                                                present Google Discover or
                                                                                                        or other
                                                                                                           other Google
                                           service or
                                                   or experience
                                                      experience in Google's discretion
                                                                             discretion on
                                                                                        on the
                                                                                           the Minus
                                                                                               Minus One Screen;
                                                                                                         Screen; and
                                                                                                                 and

                               (ii)        Company must preload those Google applications as set forth in the Incentive
                                           Implementation Requirements ("Google Application Preloads"). Google may
                                           change which Google Applications
                                                                    Applications Company
                                                                                  Company is required to   to preload on
                                           Foundation Tier Devices with 90 days prior written notice to Company. During
                                           the Term, the number of incremental Google Application Preloads, at any time,
                                           will
                                           will not exceed
                                                    exceed (i) seventeen (17) total
                                                                                 total applications. Incremental Google
                                                                                                                  Google
                                           Application Preloads are
                                           Application Preloads are those
                                                                     those that
                                                                           that are
                                                                                are not  required to
                                                                                     not required  to be
                                                                                                      be preloaded  under
                                                                                                         preloaded under
                                           GMS requirements, the MADA or, as applicable, the EMADA;

                               (iii)
                               (iii)       With  90 days
                                           With 90         prior written
                                                     days prior   written notice
                                                                           notice to
                                                                                  to the Company, Google
                                                                                     the Company,   Google will
                                                                                                            will have
                                                                                                                 have the
                                                                                                                      the right  to
                                                                                                                           right to
                                           designate the placement of Google Application Preloads shortcut icons on the
                                           bottom row of the Default Home Screen, Application Dock, and Plus One
                                                      ('Google Application Placements") subject to the following
                                           Screen ("Google
                                           limitations: (i) up to
                                                                to 44 icons
                                                                      icons if an
                                                                               an Application
                                                                                   Application Dock has 5 5 columns
                                                                                                            columns (or up to 3   3
                                           icons if an Application Dock has 4    4columns); (ii) up to 4
                                                                                                       4 icons if a
                                                                                                                  a Default Home
                                           Screen has
                                           Screen    has 5 5 columns
                                                             columns (or (or up  to 3
                                                                              up to    icons if
                                                                                     3 icons if a Default Home
                                                                                                a Default  Home Screen
                                                                                                                   Screen has
                                                                                                                            has 4 4
                                           columns); and
                                                       and (iii) up to  4icons on the
                                                                     to 4            the Plus One
                                                                                              One Screen.
                                                                                                   Screen. For all other Google
                                                                                                                          Google
                                           Application Placements, Google may choose for them to be placed in the
                                           Google Folder in an order designated by Google;

                               (iv)
                               (iv)        With
                                           With 90 days prior written
                                                                   written notice toto the
                                                                                       the Company and  and subject to Google
                                                                                                                       Google
                                           providing Company with necessary Google-supporting software components
                                           to
                                           to complete the request, Google will will have
                                                                                     have the
                                                                                          the right
                                                                                              right to require Company to map
                                           the
                                           the power button or  or side key press functionality to to an
                                                                                                      an additional experience
                                                                   (Google Power Button Experience") as set forth in
                                           defined by Google ("Google
                                           Incentive Implementation Requirements. The Google Power Button
                                           Experience will
                                                       will maintain the following functionality: (i) emergency
                                                                                                            emergency call, (ii)
                                                                                                                            (ii)
                                           screenshot, (iii) restart, and (iv) power-off;

                               (v)
                               (v)         If Company is unable to
                                                                to comply with
                                                                          with all the
                                                                                   the requirements as
                                                                                                    as provided in
                                                                                                                in
                                                                  10




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'        -                                                                    MOTO-NDCAL-002071 18
                                                                                                            MOTO-NDCAL-00207118

                                                                                                                         EXHIBIT 1231-018
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 19 of 39
             Google Confidential


                                             accordance with
                                                          with this Section
                                                                    Section 4.1(b),
                                                                            4.1 (b), Company
                                                                                      Company may request
                                                                                                       request a
                                                                                                               a waiver from
                                                                                                                        from
                                             Google which may be granted at Google's sole discretion. Google will not
                                             change the requirements in this Section 4.1   4.1(b)
                                                                                              (b) more than once every six
                                             months during the Term.
                                                                   Term. For the sakesake ofof clarity, any
                                                                                                        any such
                                                                                                            such change
                                                                                                                  change to
                                             requirements under
                                                           under this Section 4.1(b)
                                                                                 4.1 (b) will
                                                                                         will only apply to Foundation Tier
                                                                                                                         Tier
                                             Device Models that have not launched or have not reached Company's
                                             software lock date; and
                                                                 and

                      (c)      The Device must
                                          must comply with Section 4.3
                                                                   4.3 (Configuration).

             4.2
             4.2      Requirements for Foundation Tier Bonus Incentive. For CompanyCompany to to receive
                                                                                                 receive Foundation
                      Tier Bonus Incentive for
                                           for any
                                               any Foundation Tier Device under this
                                                                                 this Agreement
                                                                                      Agreement inin accordance
                                                                                                     accordance with
                                                                                                                with
                      Section
                      Section 11 and
                                 and Attachment A,A, the
                                                     the following requirements must be
                                                                                      be met:

                      (a)      The Device must
                                          must be
                                               be qualified
                                                  qualified as aFoundation Tier
                                                            as a           Tier Device; and
                                                                                        and

                      (b)      Company must achieve
                                            achieve requirements set out
                                                                     out in Section 1.2 of Attachment
                                                                                           Attachment A.
                                                                                                      A.

             4.3
             4.3      Configuration. Company
                                       Company will
                                                will not and
                                                         and will
                                                             will not allow any
                                                                            any third
                                                                                third party to do any
                                                                                                  any of the
                                                                                                         the following
                                                                                                             following
                      with respect to Foundation Tier Devices except
                                                               except as specified in
                                                                                    in Section 6(Permitted Activities):
                                                                                       Section 6            Activities):

                      (a)      include in any manner on aaFoundation Tier Device (including via over-the-air prompt,
                               out-of-box experience, or non-End User-initiated download or update) any Alternative
                               Service, or any application,
                                               application, service, or
                                                                     or functionality
                                                                        functionality that
                                                                                      that has
                                                                                           has the
                                                                                               the primary
                                                                                                   primary purpose
                                                                                                           purpose of
                               providing access to any Alternative Service;

                      (b)      introduce,
                               introduce, promote, or
                                                   or suggest (including via
                                                                         via over-the-air prompt) an
                                                                                                  an Alternative
                                                                                                     Alternative
                               Service to
                                       to an
                                          an End User;

                      (c)      (i) change in any manner (A) the default search settings from initial factory settings for
                               Google Applications
                                         Applications that are preloaded on a   a Foundation Tier Device, (B) any active active
                               Hotword or active
                                             active Gesture
                                                    Gesture that
                                                             that is preloaded on
                                                                               on aaFoundation Tier Device, or or (C)
                                                                                                                  (C) Google
                                                                                                                        Google
                               Search, Google Assistant (including any active Hotword or active Gesture), or Default
                               Functions, in each case that
                                                          that are preloaded onon aaFoundation Tier
                                                                                                 Tier Device; oror (ii)
                                                                                                                   (ii) prompt
                               End Users
                               End   Users toto change,
                                                change, or
                                                         or engage
                                                            engage in    any promotion
                                                                      in any promotion or
                                                                                       or campaign
                                                                                           campaign that
                                                                                                      that suggests
                                                                                                           suggests to  to End
                                                                                                                            End
                               Users that they change in any manner any of the items in (i); provided, however, that
                               Company will not be responsible under this subsection (c) for the conduct of a           a third-
                               party
                               party retailer  of Foundation
                                      retailer of Foundation Tier   Devices who
                                                               Tier Devices       does not
                                                                             who does  not comply
                                                                                            comply with
                                                                                                   with this
                                                                                                         this subsection
                                                                                                              subsection (c) (c)
                               so long as Company does not have any commercial arrangement with such third-party
                               retailer
                               retailer to engage in in conduct that is not in compliance with
                                                                                             with this
                                                                                                  this subsection (c), and  and
                               Company doesdoes not prompt, suggest,
                                                               suggest, promote, or use other means
                                                                                                means that
                                                                                                        that direct, instruct,
                               or encourage such third-party retailer from being in compliance with this subsection (c).

             4.4
             4.4      Letter Upgrade Obligations.

                      (a)      Company will use commercially
                                                  commercially reasonable efforts
                                                                          efforts to provide Letter Upgrades to
                               Devices in accordance with the following:

                               (i)        Category 1: For all premium and mass-premium Device Models (Manufacturer
                                          Suggested Retail Price of US$400 and above) Launched during the calendar year
                                          of
                                          of 2020, Company will
                                                            will provide at
                                                                         at least one
                                                                                  one (1) Letter Upgrade.

                               (ii)       Category 2: For all mid-tier Device Models (Manufacturer Suggested Retail Price
                                          of
                                          of US$150-$400) Launched during the   the calendar
                                                                                    calendar year
                                                                                             year of 2020,
                                                                                                     2020, Company will
                                          provide at least one (1)
                                                               (1) Letter
                                                                   Letter Upgrade.
                                                                       11
                                                                       11




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'       -                                                                   MOTO-NDCAL-002071 19
                                                                                                          MOTO-NDCAL-00207119

                                                                                                                       EXHIBIT 1231-019
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 20 of 39
             Google Confidential



                               (iii)       Category 3: For all entry-tier Device Models (Manufacturer Suggested Retail
                                           Price of US$150 and below) Launched during the calendar year of 2020,
                                           Company will provide at least one (1) Letter Upgrade.

                               (iv)        Category 4: For all mid-tier Device Models (Manufacturer Suggested Retail Price
                                           of US$150-$400) Launched during the calendar year of 2020, Company will
                                                   asecond
                                           provide a second Letter
                                                             Letter Upgrade in addition
                                                                                addition to
                                                                                         to the
                                                                                            the first
                                                                                                first Letter Upgrade provided
                                           under Category 2.

                               (v)         Category 5: For all entry-tier Device Models (Manufacturer Suggested Retail
                                           Price of
                                           Price    US$150 and
                                                 of US$150   and below)
                                                                  below) Launched
                                                                           Launched during
                                                                                     during the calendar year
                                                                                            the calendar      of 2021,
                                                                                                         year of 2021,
                                           Company will provide one (1) Letter Upgrade.

                      (b)      Google and Company will will discuss
                                                            discuss in good faith
                                                                                faith and determine
                                                                                           determine whether
                                                                                                      whether or not thethe
                               requirements in Category 4   4 or 55 are waived for a  a specific Device Model, if upon a  a
                               mutually agreed upon assessment any of the following occurs: (i) the Foundation Tier
                               Device does
                                      does not have sufficient RAM to   to support such Letter Upgrade, (ii) board
                                                                                                             board support
                               package (BSP) support from applicable application processor (AP) (i.e. system-on-chip
                               (SOC)) partners is insufficient, (iii) Company, in its reasonable discretion, determines
                               that such Letter Upgrade willwill materially impair
                                                                              impair device
                                                                                      device performance, and/or
                                                                                                              and/or (iv)
                                                                                                                     (iv) ifif
                               Telecom Operator(s)
                                        Operator(s) object
                                                    object or fail
                                                                fail to
                                                                     to provide reasonable support.
                                                                                            support.

             4.5      Security Update Obligations.

                      (a)      For a a period of twenty-four
                                                 twenty-four (24) months
                                                                   months after
                                                                           after the applicable
                                                                                       applicable Launch
                                                                                                    Launch Date, unless
                               otherwise approved by Google in writing, Company will   will implement
                                                                                            implement Security Updates
                               on Device Models of Active Foundation Devices in order to meet the Compliance
                               Target (Security). Company is solely responsible for implementing the Security
                               Updates or, as applicable, for ensuring that its subcontractor (subject to Section 17.4)
                               implements the Security Updates. As between Company and Google, Company is
                               responsible for bearing all fees and costs associated with Security Updates (e.g.,
                               Telecom Operator's testing and acceptance, etc.) etc.) for itself and,
                                                                                                 and, as applicable, any
                                                                                                                     any
                               subcontractor. Company will only implement the the Security
                                                                                   Security Updates on Device Models
                               of Foundation Tier Devices using Google's, Company's, or Company's subcontractor's
                               over-the-air infrastructure. Company will inform Google of any stability problems or
                               other problems with
                                                with meeting the Compliance
                                                                 Compliance Target (Security). Google and Company
                               will work together to resolve such problems through their Technical Account Managers.

                      (b)      If Company fails
                                           fails to
                                                 to complete
                                                    complete Security
                                                             Security Updates so as
                                                                                 as to meet the
                                                                                            the Compliance
                                                                                                Compliance Target
                                                                                                           Target
                               (Security), Google may withhold build approvals for any future Foundation Tier
                               Devices.

                      (c)      For the purposes of this section only, when determining whether Company meets the
                               Compliance Target (Security), those Android Compatible Devices manufactured, and
                               branded,
                               branded, by Company that  that launched in
                                                                        in calendar years
                                                                                    years 2018 and 2019 under the   the
                               obligations of (i) the Google Mobile Revenue Share Agreement 2017 effective as of
                               June 1, 2017 (as amended, "Previous Revenue Share Agreement"), (ii) GFW Device
                               Program Agreement
                                         Agreement effective
                                                      effective as
                                                                as of December 1, 2018,
                                                                                   2018, and (iii)
                                                                                               (iii) Smart Stand
                                                                                                           Stand Device
                               Program Agreement
                                         Agreement effective
                                                       effective as of October 21,
                                                                                21, 2019, will
                                                                                           will be counted as Active
                                                                                                                 Active
                               Foundation Devices.

             5.       PREMIER TIER DEVICE

             5.1      Device Requirements. For any Device to qualify as a
                                                                        a Premier Tier Device, and for Company

                                                                        12




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'        -                                                                 MOTO-NDCAL-00207120
                                                                                                         MOTO-N DCAL-00207120

                                                                                                                     EXHIBIT 1231-020
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 21 of 39
             Google Confidential


                      to receive
                      to receive Premier
                                 Premier Tier Monthly Payment
                                         Tier Monthly Payment for   such Device
                                                                for such Device under
                                                                                under this
                                                                                      this Agreement in accordance
                                                                                           Agreement in accordance
                      with Section
                      with Section 11
                                   11 and
                                      and Attachment
                                          Attachment A,
                                                      A, the
                                                         the following requirements must
                                                             following requirements must bebe met:
                                                                                              met

                      (a)      The Device must be be qualified     a Foundation Tier
                                                      qualified as a              Tier Device by
                                                                                              by complying
                                                                                                 complying with
                                                                                                           with all
                                                                                                                all
                               requirements
                               requirements set
                                            set forth
                                                forth in Section 4
                                                      in Section 4(Foundation
                                                                   (Foundation Tier Device);
                                                                               Tier Device);

                      (b)      The Device must comply
                                               comply with
                                                        with all requirements set
                                                                              set forth
                                                                                  forth in
                                                                                        in Attachment B (Premier Tier
                                                                                           Attachment B          Tier
                               Service Access
                                       Access Points); and

                      (c)
                      (c)      The Device
                               The Device must
                                          must comply with Section
                                               comply with Section 5.2 (Configuration).
                                                                   5.2 (Configuration).

             5.2      Configuration. Company
                                       Company will not and
                                                         and will
                                                             will not allow any
                                                                            any third
                                                                                 third party to do any
                                                                                                   any of the
                                                                                                          the following
                      with respect
                      with respect to
                                   to Premier
                                      Premier Tier
                                              Tier Devices
                                                   Devices except
                                                           except as
                                                                   as specified
                                                                      specified in
                                                                                in Section
                                                                                   Section 66(Permitted
                                                                                              (Permitted Activities):
                                                                                                         Activities):

                      (a)      (i)
                               (i) change in any any manner thethe default
                                                                   default search and browser settings from     from initial factory
                               settings for
                                          for Google Applications
                                                       Applications that areare preloaded (in(in accordance
                                                                                                 accordance with
                                                                                                               with Attachment
                                                                                                                     Attachment B)
                               on a
                               on       Premier Tier
                                    a Premier     Tier Device,
                                                        Device, or   (ii) prompt
                                                                 or (ii)  prompt EndEnd Users
                                                                                          Users to    change, or
                                                                                                  to change,   or engage
                                                                                                                    engage in  in any
                                                                                                                                  any
                               promotion
                               promotion or  or campaign
                                                 campaign that   suggests to
                                                            that suggests       End Users
                                                                             to End   Users that
                                                                                              that they  change, any
                                                                                                   they change,    any of
                                                                                                                        of the
                                                                                                                           the items
                                                                                                                                items
                               in
                               in (i); provided, however, thatthat Company
                                                                   Company will  will not be responsible under
                                                                                                            under this
                                                                                                                    this subsection
                               (a) for the conduct of a  athird-party retailer of Premier Tier Devices who does not comply
                               with    this subsection
                               with this    subsection (a) (a) so
                                                                so long
                                                                    long as as Company
                                                                                Company does         not have
                                                                                              does not     have any
                                                                                                                  any commercial
                                                                                                                         commercial
                               arrangement with such third-party retailer to engage in conduct that is not in
                               compliance with
                               compliance      with this subsection (a),
                                                    this subsection   (a), and  Company does
                                                                           and Company              not prompt,
                                                                                             does not   prompt, instruct,
                                                                                                                  instruct, suggest,
                                                                                                                            suggest,
                               promote,
                               promote, or     use other
                                           or use   other means
                                                          means that    direct, instruct,
                                                                  that direct,  instruct, or encourage such
                                                                                          or encourage     such third-party
                                                                                                                 third-party retailer
                                                                                                                              retailer
                               from being in  in compliance
                                                 compliance with
                                                              with this subsection
                                                                         subsection (a).

             5.3      Additional Requirements.

                      (a)      Product Development. Google and      and Company
                                                                         Company willwill collaborate
                                                                                          collaborate in good faith
                                                                                                                faith to develop
                               and optimize Android
                                               Android software, Foundation Tier Devices and       and Premier
                                                                                                         Premier Tier
                                                                                                                   Tier Devices,
                               including  with respect
                               including with   respect to
                                                         to device   and software
                                                            device and     software testing     for both
                                                                                      testing for   both Foundation
                                                                                                          Foundation Tier
                                                                                                                        Tier and
                                                                                                                              and
                               Premier Tier
                               Premier         Devices. The
                                         Tier Devices.        parties, through
                                                         The parties,   through their    Business and
                                                                                  their Business    and Technical     Managers,
                                                                                                          Technical Managers,
                               will
                               will meet to to review Foundation Tier Tier and
                                                                             and Premier Tier Devices and to          to discuss
                               opportunities for
                               opportunities   for optimization
                                                   optimization within
                                                                 within a   reasonable time
                                                                          a reasonable            period prior
                                                                                            time period   prior to  Launch and
                                                                                                                to Launch     and
                               following Launch
                               following   Launch asas mutually
                                                        mutually determined
                                                                   determined by  by the    parties. For
                                                                                      the parties.    For the
                                                                                                           the sake
                                                                                                                sake ofof clarity,
                                                                                                                           clarity,
                               Google's involvement in the technical development of devices intended to qualify as
                               both  Foundation Tier
                               both Foundation     Tier and
                                                        and Premier
                                                             Premier Tier    Devices is
                                                                       Tier Devices        solely of
                                                                                        is solely  of an  advisory nature,
                                                                                                      an advisory    nature, and
                                                                                                                              and
                               Google is
                               Google   is under
                                           under nono obligation
                                                      obligation to
                                                                  to provide
                                                                     provide direct
                                                                               direct development,      engineering, or
                                                                                      development, engineering,        or related
                                                                                                                          related
                               resources,
                               resources, except as otherwise agreed to          to in this Agreement
                                                                                               Agreement or in   in such
                                                                                                                     such other
                                                                                                                            other
                               agreements as
                               agreements     as may
                                                 may be  entered into
                                                      be entered   into between
                                                                        between the    parties.
                                                                                   the parties.

                      (b)      Test Devices Support. Company will      will provide Google
                                                                                    Google with
                                                                                             with up toto three
                                                                                                          three (3) Devices for
                                                                                                                             for
                               testing and verification purposes ("Test   ('Test Devices") and will use commercially
                               reasonable    efforts to
                               reasonable efforts    to provide
                                                        provide the  Test Devices
                                                                 the Test  Devices at  aminimum
                                                                                    at a  minimum of    eight (8)
                                                                                                     of eight (8) weeks  before
                                                                                                                  weeks before
                               initial device factory
                               initial device   factory firmware
                                                        firmware approval.
                                                                   approval. At   Google's written
                                                                               At Google's    written request,    Company will
                                                                                                       request, Company     will
                               provide
                               provide (i) up toto twenty
                                                   twenty (20) additional
                                                                additional Test Devices forfor Device Models eacheach calendar
                                                                                                                      calendar
                               year for country-specific testing and product development purposes with a           a number to
                               be
                               be discussed
                                    discussed on a  a country-by-country
                                                      country-by-country basis andand (ii) pre-production verification testing
                                                                                                                        testing
                               samples forfor the
                                              the purpose ofof Google's testing
                                                                         testing and verification.

                      (c)
                      (c)      Bug Fixes. IfIf Google
                                               Google notifies
                                                        notifies Company
                                                                 Company of     bugs that
                                                                             of bugs   that impact
                                                                                            impact the   performance of
                                                                                                    the performance   of any
                                                                                                                         any
                               Google products
                               Google  products andand services
                                                       services to
                                                                 to be
                                                                    be preloaded,
                                                                        preloaded, preinstalled,
                                                                                      preinstalled, or
                                                                                                    or otherwise
                                                                                                       otherwise included
                                                                                                                 included in
                                                                                                                           in
                               accordance with
                               accordance    with Attachment
                                                   Attachment B  B (Premier
                                                                   (Premier Service
                                                                              Service Access      Points) on
                                                                                         Access Points)    on Test Devices,
                                                                                                              Test Devices,
                               Company will
                               Company    will troubleshoot
                                               troubleshoot and   resolve such
                                                              and resolve         bugs within
                                                                            such bugs    within aa commercially
                                                                                                   commercially reasonable
                                                                                                                 reasonable
                               time period,
                               time         as mutually
                                    period, as   mutually agreed
                                                          agreed to  by the
                                                                  to by      parties.
                                                                         the parties.
                                                                    13
                                                                    13




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                          MOTO-NDCAL-002071 21
                                                                                                              MOTO-NDCAL-00207121

                                                                                                                             EXHIBIT 1231-021
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 22 of 39
             Google Confidential


             6.       PERMITTED ACTIVITIES
                                ACTIVITIES

             6.1      Geographic
                      Geographic Exceptions

                      (a)      Notwithstanding anything to the contrary in Sections 4.3 or 5.2 or Attachment B, for
                               Devices that are
                                            are solely distributed in
                                                                   in the jurisdictions
                                                                          jurisdictions listed
                                                                                        listed in Attachment
                                                                                                  Attachment C, Company
                               may preload, distribute, or otherwise install in a a folder on the Default Home Screen
                               and/or may preload, distribute, or otherwise install on any screen, other than the
                               Default Home Screen or or the
                                                         the Minus One
                                                                    One Screen:
                                                                          Screen:

                               (i)        a Company or third-party application or widget that is an Alternative Search
                                          a
                                          Service; and/or

                               (ii)       aCompany or third-party browser that uses an Alternative Search Service.
                                          a

                      (b)      Notwithstanding anything to the contrary in Sections 4.3 or 5.2 or Attachment B, for
                               Devices that
                                        that are solely distributed in Russia, (i)
                                                                                (i) Company may preload,
                                                                                                   preload, distribute, or
                               otherwise install (A) any Alternative
                                                         Alternative Search Service and/or
                                                                                       and/or any
                                                                                              any browser on
                                                                                                           on any screen
                               and (B) any application that is substantially similar (as determined by Google in its sole
                               discretion) to
                                           to any
                                              any of
                                                  of the Core Applications
                                                               Applications or
                                                                             or Flexible Applications
                                                                                         Applications (other than
                                                                                                             than Google
                                                                                                                   Google
                               Search and Google Chrome) set forth in the Google Product Geo-Availability Chart on
                               any screen except the Minus One Screen; and (ii) Company is not obligated to integrate
                               with and present Google Discover or other Google service or experience in Google's
                               discretion on
                                          on the Minus One Screen.

                      (c)      Notwithstanding anything to the contrary in Sections 4.3 or 5.2 or Attachment B, for
                               Devices that
                                        that are
                                              are solely distributed
                                                         distributed in the
                                                                        the EEA, Company has no  no obligation to
                                                                                                               to make
                               Google Assistant and Google Lens accessible via the Google-provided widget where
                               the End User has selected a  a search engine other than Google Search from the search
                               engine choice screen that is displayed on initial device set-up. For the sake of clarity,
                               Company's display of the search engine choice screen in the EEA in accordance with
                               Google's instructions will not be a a breach of any Section of this Agreement. For the
                               sake of clarity, Company is still required to implement Google Search Services API on
                               such Devices.

                      (d)      Notwithstanding anything to the contrary in Section 4.3, for Foundation Tier Devices
                               only that are distributed in the EEA, Company is not obligated to integrate with and
                               present Google Discover or other Google service or experience in Google's discretion
                               on the Minus One Screen.

             6.2      End Users. For the sake of clarity, nothing in this Agreement
                                                                          Agreement restricts End Users from
                                                                                                        from installing
                                                                                                             installing
                      or using
                         using alternatives to Google Applications.

             6.3     Off-Device Promotions. For the sake of clarity, nothing in this Agreement restricts Company
                     from engaging in off-Device promotions of third-party hardware that feature any Alternative
                     Service,
                     Service, even if such promotions refer to anan Alternative
                                                                     Alternative Service
                                                                                 Service that
                                                                                         that is
                                                                                              is compatible
                                                                                                 compatible with
                                                                                                             with that
                                                                                                                   that
                     hardware (in-store or otherwise), so long as that hardware is not bundled for sale or distribution
                     with
                     with Devices and such promotions are not targeted
                                                                   targeted to
                                                                            to any
                                                                                any group
                                                                                    group that is comprised
                                                                                                  comprised ofof all
                                                                                                                 all or
                                                                                                                     or
                     substantially all End Users of Devices.

             6.4     Geo-Availability of Google Applications. Nothing in this Agreement requires Company to
                     preload oror distribute
                                  distribute any Google Application
                                                        Application on
                                                                    on any
                                                                        any Device in a
                                                                                      a country
                                                                                        country or
                                                                                                or territory
                                                                                                   territory where
                                                                                                             where
                     preload or distribution of such application is not permitted under the Google Product Geo-
                     Availability Chart.

                                                                   14




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'       -                                                              MOTO-NDCAL-00207122
                                                                                                     MOTO-N DCAL-00207122

                                                                                                                  EXHIBIT 1231-022
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 23 of 39
             Google Confidential


             7.       COMPANY OBLIGATIONS

             7.1      MADA and EMADA. Company is a         a party to a
                                                                      a valid and effective MADA and, for Devices
                      distributed in the EEA, a
                                              a valid and effective EMADA; and Company will at all times during the
                      Term remain in compliance
                                       compliance with the
                                                       the MADA and, for
                                                                      for Devices distributed
                                                                                  distributed in
                                                                                              in the EEA, the
                                                                                                          the EMADA.

             7.2      Policy Obligations. Company will not, and will not allow any third party to:

                      (a)      (i) change the order or content of or block or filter any search results or ads provided
                               by Google on Devices (including commingling Valid Results or Ads with non-Google-
                               provided search results or advertising), (ii) display any search results or ads provided
                               by Google to any third parties other than End Users, or (iii) display any search results
                               or ads
                               or  ads provided
                                       provided by
                                                by Google
                                                   Google in  pop-up, pop-under,
                                                           in pop-up, pop-under, exit
                                                                                    exit windows, expanding buttons,
                                                                                         windows, expanding  buttons, or
                                                                                                                      or
                               animation or other similar methods on Devices;

                      (b)      use information obtained from any Google Application, including (i) click tracking of
                               search results or ads provided by Google on Devices; (ii)(ii) recording, collecting, using,
                                                                                                                    using,
                               or storing any information or data from aa Query or result, including any audio data or
                               metadata, received as a  a result of an End User's use of, or authentication with, any
                               Google Application, including the Google Assistant;
                                                                         Assistant; or
                                                                                    or (iii)
                                                                                       (iii) performing other
                                                                                                        other monitoring
                               of search results or ads provided by Google, except pursuant to Section 7.37 .3 (Monitoring
                               Queries);

                      (c)      redirect
                               redirect an End User
                                                 User away
                                                      away from a a Destination Page, modify the Destination Page,
                               intersperse any content between any search results or ads provided by Google and
                               any Destination Page, or do or fail to do anything that in any way implies that Google
                               is
                               is responsible for
                                              for any
                                                  any Destination Page; or
                                                                        or

                      (d)      directly or indirectly access, launch, and/or activate Google Search, Google Assistant,
                               or Google Play, including Google Play Ads, through or from any Client Application for
                               Foundation Tier Devices, and Attachment
                                                                Attachment BB for Premier Tier Devices.

             7.3      Monitoring Queries. Company may only monitor Queries in order to comply with applicable
                      law, if such
                              such monitoring does not affect
                                                       affect the
                                                              the integrity of
                                                                            of any
                                                                               any Queries, Valid
                                                                                              Valid Results, Google
                                                                                                             Google
                      Search,
                      Search, the Google Assistant,
                                         Assistant, Google Lens, Google Applications,
                                                                          Applications, or the
                                                                                           the End User experience.
                                                                                                        experience.

             7.4      Ad Blocking. Company will not, and will not allow any third party to, install or otherwise enable
                      any
                      any ad blocking functionality
                          ad blocking functionality on any Device.
                                                    on any Device. It
                                                                   It will  not be
                                                                      will not  be a breach of
                                                                                   a breach  of this
                                                                                                this Section 7.4 if
                                                                                                     Section 7.4 if an  End
                                                                                                                    an End
                      User chooses to install or
                                              or otherwise
                                                 otherwise enables any
                                                                    any ad ad blocking functionality
                                                                                       functionality on  aDevice as
                                                                                                      on a          as long
                      as Company did not preload, or otherwise install, present, promote, or suggest (including via
                      over-the-air prompt) such ad blocking functionality to the End User.

             7.5      Maintenance. During the Term and for a      a period of two (2) years thereafter, Company will not
                      and will not allow any third party to: (a) modify any of the software or hardware setting of a    a
                      Device outside Company's normal business activities including updates to Company's own
                      applications,
                      applications, Company's own own maintenance
                                                         maintenance releases, or provision of Letter Upgrades; (b)
                      encourage any End User to modify any of the software or hardware settings of a      aDevice; or (c)
                      otherwise engage inin any
                                            any activity
                                                activity that encourages oror enables any End User to modify the
                                                                                                               the degree
                                                                                                                   degree
                      to which
                         which the End User interacts with
                                                         with the
                                                              the software
                                                                  software or
                                                                            or hardware settings
                                                                                         settings of
                                                                                                  of a
                                                                                                     a Device.

             8.       [Intentionally Omitted]

             9.       MANAGEMENT

                      Company and Google will each appoint (1) a
                                                               a business partner manager (the "Business
                                                                                                Business
                                                          15
                                                          15




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                  MOTO-NDCAL-00207123
                                                                                                      MOTO-N DCAL-00207123

                                                                                                                   EXHIBIT 1231-023
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 24 of 39
             Google Confidential


                      Manager") who will be the single point of contact for all business, go-to-market, and operational
                      activities and (2) a
                                         a technical account manager (the "Technical Manager") who will be the
                      primary point of contact for all technical and deployment activities. Company and Google will
                      notify each other of the name and contact details for their Business Manager and Technical
                      Manager promptly after the Effective Date. Either party may change its  its Business
                                                                                                  Business Manager
                                                                                                           Manager and
                                                                                                                    and
                      Technical Manager by notifying the other party in writing.

             10.      DATA COLLECTION AND REPORTS

             10.1     Data Collection. Each party's privacy and security policies will apply with respect to the user
                      information collected by such party.

             10.2     Device Enrollment Forecast.

                      (a)      Before the Launch of any Device Model during the Term, Company will provide Google
                               with aa written notice of whether Company intends such Device Model to be enrolled
                               into
                               into either
                                    either of Foundation Tier or
                                                               or Premier Tier,
                                                                          Tier, and which
                                                                                    which tier the
                                                                                               the Device Model will
                                                                                                                will be
                                                                                                                     be
                               enrolled into. Company will use commercially reasonable efforts to provide such a      a
                               notice to Google at least two
                                                          two (2) months before Launch of each such Device Model.

                      (b)      During the Term,
                                           Term, Company will
                                                           will provide a
                                                                        a monthly
                                                                          monthly Foundation Tier
                                                                                               Tier Devices and
                                                                                                              and
                               Premier Tier Devices shipment volume forecast through to the remainder of the Term
                               based on the geographies Google requests from time to time.

                      (c)     Within the first 15 days of the beginning of each calendar month, upon written request
                              from Google, Company will provide a   a written report to Google detailing the following
                              information
                              information for
                                           for the
                                               the previous calendar month:
                                                                     month:

                               (i)       the total number of Foundation Tier Devices and Premier Tier Devices that
                                         were distributed in aggregate and, where requested by Google, broken down
                                         by distribution channel
                                                         channel and
                                                                 and country.

             10.3     Google Reports. Google and Company will work together in good faith to agree on the format
                      of quarterly reports detailing the proportion, based on actual search results, attributed to each
                      major Company
                      major            product category
                            Company product     category (for  clarity, smartphones
                                                          (for clarity, smartphones vs.
                                                                                    vs. tablets) as agreed
                                                                                        tablets) as agreed by the parties.
                                                                                                           by the parties.
                      Google will provide reports on a aquarterly basis.

             11.      PAYMENT AND TAXES

             11.1     Incentive. Subject
                                   Subject to the terms
                                                   terms and conditions
                                                              conditions of this
                                                                            this Agreement,
                                                                                 Agreement, Google will
                                                                                                      will pay Company
                      the Incentive in accordance with this Section 11.1 and Attachment A.    A. Payment may be made
                      by Google as  as aa single, consolidated
                                                  consolidated payment or as   as multiple payments in  in Google's
                                                                                                           Google's sole
                      discretion. No Incentive will
                                                  will be payable if Company is  is in breach of Sections
                                                                                                   Sections 3 3 through 5
                                                                                                                through 5
                      (Devices) or Section 7  7 (Company Obligations). In addition, although Company may choose
                      whether to configure any Devices on a   a Device-by-Device basis as Premier Tier Devices, once
                      a
                      a Device first meets the
                                             the additional requirements to
                                                                          to be a a Premier Tier
                                                                                             Tier Device, and
                                                                                                           and Company
                      becomes eligible to receive Premier Tier Monthly Incentive in     in respect of such Premier Tier
                      Device, it will be a
                                         a breach of the applicable provision(s) in Sections 33 through 5 5if Company or
                      any third party acting on Company's instructions: (a) subsequently makes any changes to that
                      Premier Tier Device so that such Device no longer meets the requirements to be a     aPremier Tier
                      Device, and/or (b) carries out any acts or omissions in connection with that Premier Tier Device
                      that are
                           are prohibited
                               prohibited under
                                           under this Agreement.
                                                       Agreement.

             11.2     Payment Timing. Payment of the Incentive will be made monthly by the last day of the
                      calendar month following the calendar month to which it applies. Google will pay Foundation
                                                              16




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'      -                                                               MOTO-NDCAL-00207124
                                                                                                     MOTO-N DCAL-00207124

                                                                                                                  EXHIBIT 1231-024
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 25 of 39
             Google Confidential


                      Tier
                      Tier Bonus Incentive payments as
                                                    as set
                                                       set forth in
                                                                 in Attachment
                                                                    Attachment A.
                                                                               A.

             11.3     Payor. In accordance withwith applicable
                                                     applicable law
                                                                 law andand regulations, Google operates
                                                                                                   operates multiple local
                                                                                                                     local
                      Google
                      Google Affiliates
                              Affiliates to
                                         to process transactions,
                                                      transactions, and payments from  from Google toto Company may be  be
                      made by
                            by one oror more of these
                                                these Google Affiliates,
                                                               Affiliates, which
                                                                           which will
                                                                                 will satisfy Google's payment obligations
                                                                                                               obligations
                      under this
                            this Agreement.
                                 Agreement. TheThe parties will
                                                            will discuss in good faith operational
                                                                                          operational adjustments
                                                                                                      adjustments and tax
                      withholding modifications if Google opts to pay from an Affiliate other than the US entity.

             11.4
             11 .4   Designated Payee. Designated Payee is         is included as   a party to
                                                                                 as a           to this
                                                                                                   this Agreement
                                                                                                        Agreement solely for  for the
                                                                                                                                   the
                     purpose of receiving payments
                                              payments due to to Company under this  this Agreement on     on behalf of
                                                                                                                      of Company.
                                                                                                                          Company.
                     For the
                           the avoidance
                               avoidance of doubt, Company hereby directs Google to make all                 all payments
                                                                                                                 payments due to
                     Company
                     Company underunder this
                                         this Agreement
                                              Agreement to Designated Payee and      and hereby
                                                                                           hereby acknowledges and      and agrees
                     that any
                           any payment made by  by Google
                                                    Google to Designated Payee will   will fulfill
                                                                                           fulfill Google's payment obligations
                                                                                                                         obligations
                     to Company under this Agreement,
                                                Agreement Designated Payee hereby acknowledges and agrees that
                     it is an Affiliate of
                                        of Company, is a  a resident of the United States States forfor U.S.
                                                                                                        U.S. federal income tax
                     purposes, and has agreed and     and is
                                                          is entitled toto receive payments
                                                                                    payments made by Google under         under this
                                                                                                                                  this
                     Agreement on behalf of Company. Designated Payee furthermore agrees that it will fulfill any
                     tax obligation,
                          obligation, comply with
                                               with any
                                                    any tax documentation
                                                             documentation requests, and    and make any  any tax
                                                                                                              tax certification
                                                                                                                   certification that
                                                                                                                                 that
                     is described
                        described under Section 11.9 (Taxes). Company and Designated Payee agree                agree to indemnify
                                                                                                                           indemnify
                     and hold harmless Google for any loss incurred as a       aresult of Google complying with Company's
                     payment direction
                                 direction under this Section 11.4 and     and any
                                                                                any tax liabilities, adjustments, penalties,
                                                                                                                           penalties,
                     interest, or costs incurred by Google
                                                       Google as a  a result
                                                                       result of Designated Payee's failure failure to provide any
                                                                                                                                 any
                     tax documentation or information described under, or to otherwise comply with the provisions
                     of, Section 11.9 (Taxes).
                                        (Taxes). Company agrees to    to provide
                                                                          provide a
                                                                                  a written
                                                                                    written request
                                                                                               request toto Google atat least ninety
                                                                                                                               ninety
                     (90) days prior to to the
                                            the proposed effective
                                                            effective date of of any change
                                                                                      change to the   the Designated Payee or       or
                     payment direction
                                direction under
                                           under this Agreement,
                                                      Agreement, which
                                                                    which Google shall acknowledge and       and consider
                                                                                                                  consider in good
                                                                                                                                good
                     faith.

             11.5
             11 .5    No Other Payment Obligations.
                                            Obligations. Except as set forth
                                                                           forth in
                                                                                 in this Agreement,
                                                                                          Agreement, (a) Google and  and
                      Company
                      Company will
                                will each
                                     each retain any and
                                                      and all
                                                           all revenue generated
                                                                        generated from
                                                                                    from provision ofof their
                                                                                                        their respective
                                                                                                              respective
                      products or services and
                                            and (b)
                                                 (b) neither party will be required to account
                                                                                         account to
                                                                                                  to the
                                                                                                     the other
                                                                                                          other party or
                                                                                                                      or
                      otherwise make any
                                       any other payment to the other party regarding
                                                                                regarding the Google Applications
                                                                                                         Applications or
                      Google
                      Google services,
                              services, the
                                        the Devices, or any revenue
                                                             revenue generated by the the other
                                                                                          other party, unless otherwise
                      agreed in a
                                a separate written agreement signed by the parties.

             11.6     Bank Details. For payment and    and tax
                                                            tax purposes,
                                                                 purposes, Company
                                                                             Company will
                                                                                        will provide any
                                                                                                      any information
                                                                                                           information
                      reasonably required by Google, including Company's
                                                                 Company's bank
                                                                              bank account
                                                                                   account information.
                                                                                            information. Company will
                                                                                                                   will
                      not receive Incentive prior to Google's receipt of such information.

             11.7     Adjustments. In addition toto other rights and remedies Google may have,
                                                                                             have, Google
                                                                                                   Google may (a)
                                                                                                                (a) offset
                      any payment obligations to Company that Google may incur under this Agreement against any
                      product or service
                                 service fees
                                          fees owed
                                               owed to Google and notnot yet paid by Company under thisthis Agreement or
                      any
                      any other agreement between Company
                                                        Company andand Google andand (b) withhold
                                                                                         withhold and
                                                                                                   and offset against its
                      payment obligations under this Agreement, or require Company to pay to Google within 30
                      calendar
                      calendar days of any invoice,
                                              invoice, any
                                                       any amounts Google may have  have overpaid toto Company
                                                                                                       Company in prior
                                                                                                                     prior
                      periods under this
                                     this Agreement.
                                          Agreement.

             11.8    Currency. All payments due to Company in accordance with this Section and Attachment A
                                                                                                          A
                     will be in U.S. Dollars. Any charges for converting foreign currency will be Company's
                     responsibility.

             11.9     Taxes.

                      (a)      Transaction Taxes. All
                                                   All payments under this Agreement
                                                                           Agreement are inclusive of
                                                                                                   of Transaction
                               Taxes. Company is is responsible for
                                                                for charging and paying
                                                                                 paying any
                                                                                         any Transaction
                                                                                              Transaction Taxes
                                                                       17




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                          MOTO-NDCAL-00207125
                                                                                                              MOTO-N DCAL-00207125

                                                                                                                             EXHIBIT 1231-025
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 26 of 39
             Google Confidential


                               required to be charged by any governmental tax authority in connection with any
                               payment
                               payment made byby Google to
                                                        to Company
                                                           Company under this Agreement.
                                                                              Agreement.

                      (b)      Withholdinq Taxes. If Google is required under applicable law to withhold Taxes from
                               Withholding
                               its
                               its payments to Company and and remit such
                                                                        such Taxes
                                                                             Taxes to any
                                                                                       any governmental
                                                                                           governmental taxing authority,
                                                                                                                 authority,
                               then Google will pay to Company
                                                          Company the remaining net amount after such Taxes    Taxes have
                               been withheld and within a  a reasonable timeframe provide to Company a        a copy of an
                               official tax receipt, a
                                                     a copy of filed forms with taxing jurisdiction, or other appropriate
                               evidence of any taxes imposed on payments made under      under this
                                                                                               this Agreement.
                                                                                                    Agreement. Company
                               agrees to timely provide, as soon as reasonably practicable, any tax documentation or
                               certification requested by Google, including IRS Forms W-8 or W-9. Company hereby
                               certifies that any
                                              any services that it is
                                                                   is deemed
                                                                      deemed toto perform pursuant to
                                                                                                    to this
                                                                                                       this Agreement
                                                                                                            Agreement are
                               not performed in the United States or Singapore and furthermore agrees to provide
                               written notification to Google at least ninety (90) days prior to any such services being
                               performed
                               performed in the United States or  or Singapore.
                                                                      Singapore.

             12.      TERM AND TERMINATION

             12.1     Term. This Agreement
                                  Agreement will
                                               will commence on the Effective Date and will
                                                                                         will continue
                                                                                              continue until the
                                                                                                             the end of
                      the Term,
                          Term, unless earlier terminated as provided in Section 12.2 or
                                                                                      or 12.3.

             12.2     Termination of this Agreement. Either Google or Company may suspend or terminate this
                      Agreement with
                                with immediate effect
                                               effect by
                                                      by giving
                                                         giving written
                                                                written notice to
                                                                               to the other
                                                                                      other party if such other
                                                                                                          other party:
                                                                                                                party:

                      (a)      is in material breach of this Agreement where the breach cannot be remedied;

                      (b)      is
                               is in material breach of
                                                      of this Agreement where
                                                                          where the
                                                                                 the breach can
                                                                                            can be remedied,
                                                                                                    remedied, but such
                               other party fails
                                           fails to remedy that
                                                             that breach
                                                                  breach within
                                                                         within 30 calendar days after receiving written
                               notice of such breach;

                      (c)      is
                               is in
                                  in material breach of this
                                                        this Agreement more than twice for which
                                                                                           which written
                                                                                                 written notice is
                                                                                                                is given
                               regardless  of whether
                               regardless of  whether the   second or
                                                       the second     subsequent breach
                                                                   or subsequent breach can   be remedied;
                                                                                         can be             or
                                                                                                 remedied; or

                      (d)      ceases its business operations or becomes subject to insolvency proceedings and the
                               proceedings
                               proceedings are  not dismissed
                                            are not dismissed within 90 calendar
                                                              within 90 calendar days.
                                                                                 days.

             12.3     Termination of MADA and EMADA. If the MADA or, for devices distributed in the EEA, the
                      EMADA, is terminated for any reason, this Agreement will automatically terminate.

             12.4     Material Breach. For purposes of determining whether a       a"material breach" has occurred, the
                      parties agree that a
                                         abreach by either party of Section 2                     3through 5
                                                                              2 (Scope), Sections 3          5(Devices),
                      Section
                      Section 7 7 (Company
                                  (Company Obligations),
                                             Obligations), Google's failure
                                                                     failure to
                                                                              to make an
                                                                                       an undisputed
                                                                                          undisputed monthly
                                                                                                       monthly payment
                      under Section 11  11 (Payment and Taxes) Taxes) and Attachment
                                                                               Attachment A A (Incentive), Section 13
                      (Confidentiality and Publicity), or Section 14 (Intellectual Property Rights) is a
                                                                                                       amaterial breach
                      of this Agreement. The prior sentence should not be interpreted to imply that a    a breach of any
                      other Section of this Agreement
                                            Agreement will not be aa material breach of this
                                                                                         this Agreement.
                                                                                              Agreement.

             12.5     Special Suspension. Notwithstanding anything to the contrary in this Agreement, if the
                      government or controlling
                                        controlling body of anyany country or territory
                                                                               territory imposes any
                                                                                                   any law,
                                                                                                       law, restriction or
                      regulation that (a) makes it illegal to
                                                           to distribute
                                                              distribute or make available
                                                                                 available in
                                                                                           in such
                                                                                              such country or
                                                                                                           or territory any
                                                                                                                        any
                      Google application or service (e.g., Google Search, Google Assistant, Google Play, etc.)
                      covered under this Agreement, or (b) places a    asubstantial burden on Google, where substantial
                      is measured with
                                    with respect toto Google's economic benefit under
                                                                                   under this
                                                                                          this Agreement,
                                                                                               Agreement, as
                                                                                                           as determined
                                                                                                               determined
                      by Google in its reasonable and good faith judgment (such substantial burden, a      a"Substantial
                      Burden"), then Google may suspend the proportion, in Google's determination, of the Incentive
                                                                     18




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                  MOTO-NDCAL-00207126
                                                                                                      MOTO-N DCAL-00207126

                                                                                                                  EXHIBIT 1231-026
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 27 of 39
             Google Confidential


                     payments payable in connection with the applicable Google application(s) or service(s) in such
                     country
                     country or
                              or territory until the
                                                 the law, restriction or regulation is repealed, nullified or
                                                                                                           or modified so that
                                                                                                                          that
                     it is no longer illegal or a  a Substantial Burden to distribute or make available the applicable
                     Google application(s) or service(s) in such country or territory ("Special
                                                                                            (Special Suspension"). As a      a
                     condition
                     condition to
                                to make the Special Suspension,
                                                          Suspension, Google
                                                                          Google will provide
                                                                                       provide Company with prior written
                                                                                                                       written
                     proof(s) in the form of laws, restrictions, or regulations issued by the government or controlling
                     body to prove the circumstance provided in this Section has occurred. For the sake of clarity,
                     a
                     a party being added to the U.S. Department of Commerce's Entity List or any other action by
                     the U.S. Government that would prohibit Google's ability to perform its obligations under this
                     Agreement constitutes a     aSubstantial Burden, which qualifies for a  a Special Suspension.

             12.6     Effect of Termination
                                Termination of this
                                               this Agreement. Upon
                                                               Upon expiration or
                                                                               or termination
                                                                                  termination of
                                                                                              of this Agreement
                                                                                                      Agreement
                      for any reason:

                      (a)      all rights and obligations of each party hereunder will immediately terminate except as
                                                   12.7
                               stated in Section 12.  7 (Survival);

                      (b)      Company will not install or have installed any Client ID on any new Device after the
                               date this Agreement
                                         Agreement expires or terminates;
                                                              terminates; and
                                                                           and

                      (c)      Google and Company will each return or destroy all copies of Confidential Information
                               in its possession of which it is aware and to which it has access and is reasonably able
                               to destroy or delete
                                              delete (which, for the avoidance
                                                                         avoidance of
                                                                                   of doubt,
                                                                                      doubt, does
                                                                                              does not
                                                                                                   not include
                                                                                                       include archived
                                                                                                               archived
                               backup
                               backup copies which
                                                which are notnot in
                                                                  in live working
                                                                           working use and
                                                                                        and which
                                                                                             which are
                                                                                                   are no longer easily
                                                                                                                  easily
                               accessible or retrievable), including from all hard disks and memory.

             12.7     Survival.
                      Survival. The
                                  The provisions ofof Sections
                                                      Sections 11 (Definitions), 4.4 (Letter Upgrade Obligations), 4.5
                      (Security Update Obligations), 7.2 (Policy Obligations), 7.5 (Maintenance), 11.9 (Taxes), 12.6
                      (Effect of Termination of this Agreement), 12.7 (Survival), 13 (Confidentiality and Publicity), 14
                      (Intellectual Property Rights), 16 (Limitation of Liability), and
                                                                                     and 17 (General), and and any
                                                                                                               any other
                                                                                                                     other
                      clauses
                      clauses which
                                which under their terms
                                                   terms or by
                                                             by implication ought to
                                                                                   to survive,
                                                                                      survive, will
                                                                                               will survive
                                                                                                    survive expiration
                                                                                                             expiration or
                      termination of this Agreement. Notwithstanding the foregoing, Sections 4.4 (Letter Upgrade
                      Obligations),
                      Obligations), 4.5 (Security
                                        (Security Update Obligations), 7.2
                                                                        7.2 (Policy Obligations), and 7.5 (Maintenance)
                                                                                                           (Maintenance)
                      will not
                      will not survive
                                survive expiration
                                         expiration or
                                                     or termination
                                                        termination of   this Agreement
                                                                     of this  Agreement ifif Company
                                                                                              Company terminates
                                                                                                          terminates this
                                                                                                                       this
                      Agreement pursuant to Section 12.2.

             13.      CONFIDENTIALITY AND PUBLICITY

             13.1     "Confidential Information" is information disclosed by one party (or its Affiliates) to the other
                      party (or its Affiliates) under this Agreement that is marked as confidential or would normally be
                      considered
                      considered confidential information under the circumstances.
                                                                       circumstances. Confidential Information does not
                                                                                                                      not
                      include information that becomes public through no fault of the recipient, that is independently
                      developed by the recipient, or that is rightfully given to the recipient by a a third party without
                      confidentiality
                      confidentiality obligations.
                                       obligations.

             13.2     Confidentiality Obligations. The recipient will not disclose the Confidential Information,
                      except to Affiliates, employees, agents, subcontractors, or professional advisors ("Delegates")
                                                                                                            ("Delegates")
                      who need to know it and who have      alegal obligation
                                                       have a      obligation to
                                                                              to keep itit confidential.
                                                                                           confidential. The
                                                                                                         The recipient
                                                                                                              recipient will
                                                                                                                        will
                      use the Confidential Information only to exercise rights and fulfill obligations under this
                      Agreement. The recipient will ensure that its Delegates are also subject to the same non-
                      disclosure and
                                 and use obligations.
                                             obligations. The
                                                          The recipient may disclose Confidential Information when   when
                      required by law after giving reasonable notice to the discloser, if permitted by law.

             13.3     Publicity. Neither party may make any public statement regarding this Agreement without the
                      other party's prior written approval.
                                                              19




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                   MOTO-NDCAL-00207127
                                                                                                       MOTO-N DCAL-00207127

                                                                                                                    EXHIBIT 1231-027
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 28 of 39
             Google Confidential


             14.      INTELLECTUAL PROPERTY RIGHTS

                      Company
                      Company acknowledges that,  that, as between
                                                           between the parties, Google
                                                                                Google (and/or its licensors)
                                                                                                     licensors) retains all
                                                                                                                         all
                      right, title, and interest, including all Intellectual Property Rights, in and to the Google
                      Applications (including Default Functions), Google Search, Search, and the  the Google Assistant.
                                                                                                                 Assistant.
                      Company
                      Company has, and will will acquire,
                                                 acquire, no rights
                                                              rights in the
                                                                        the foregoing. Google
                                                                                       Google acknowledges that,   that, as
                                                                                                                         as
                      between the parties, Company (and/or its licensors) retains all right, title, and interest, including
                      all Intellectual Property Rights, in and to the Devices. Google has, and will acquire, no rights
                      in the
                         the Devices.

             15.      REPRESENTATIONS AND WARRANTIES

                      Each party
                      Each   party represents
                                   represents and  warrants to
                                               and warrants    the other
                                                            to the  other party
                                                                          party that
                                                                                 that it
                                                                                       it has
                                                                                          has full
                                                                                              full power  and authority
                                                                                                    power and           to
                                                                                                              authority to
                      enter into this Agreement, and that the execution and delivery of this Agreement, and the
                      performance of its obligations hereunder, will not constitute a a breach or default of or otherwise
                      violate
                      violate any
                              any agreement
                                   agreement to
                                              to which such party
                                                            party or any of its Affiliates
                                                                                Affiliates are
                                                                                           are aa party.
                                                                                                   party.

             16.      LIMITATION OF LIABILITY

             16.1     Limitations. Subject toto Section 16.2 (Exceptions toto Limitations), (a)
                                                                                            (a) neither
                                                                                                neither party will be liable
                                                                                                                      liable
                      (under any theory) for incidental or punitive damages, and (b) neither party's aggregate Liability
                      for any claim arising out of or related to this Agreement will exceed US$1,000,000.
                                                                                              US$1 ,000,000.

             16.2     Exceptions to Limitations. Nothing in this Agreement excludes or limits either party's Liability
                      for: (a) breaches of confidentiality
                                            confidentiality obligations, (b) violations of the other party's Intellectual
                      Property Rights, (c) Google's failure to pay Incentive payable under this Agreement, (d)
                      Company's failure to comply with the terms of Section 3  3through Section 5  5 (Devices) or Section
                      7
                      7 (Company Obligations)
                                   Obligations) of the
                                                   the Agreement,
                                                       Agreement, or (e) matters
                                                                          matters for
                                                                                   for which
                                                                                       which Liability cannot
                                                                                                       cannot be excluded
                      or limited under applicable law.

             16.3    Exclusive Remedy. Subject to Section 16.2 (Exceptions to Limitations),
                                                                                        Limitations), to
                                                                                                      to the
                                                                                                         the maximum
                     extent   permitted by
                     extent permitted    by applicable    law, each
                                             applicable law,         party's exclusive
                                                               each party's   exclusive remedy
                                                                                        remedy for
                                                                                                 for breaches   of this
                                                                                                      breaches of   this
                     Agreement will be monetary damages, except that either party may seek injunctive relief in
                     connection
                     connection with
                                  with (a) breach
                                           breach or potential breach of
                                                                      of Section 13 (Confidentiality and
                                                                                                     and Publicity) and
                                                                                                                    and
                     (b) violations of a
                                       aparty's Intellectual Property Rights.

             16.4     Allocation of Risk. The parties agree that (a) the mutual agreements made in this Section 16
                      reflect a
                      reflect    reasonable allocation
                              a reasonable                of risk,
                                              allocation of   risk, and
                                                                    and (b)
                                                                        (b) neither
                                                                            neither party
                                                                                    party would enter into
                                                                                          would enter into this
                                                                                                           this Agreement
                                                                                                                Agreement
                      without these
                               these limitations
                                     limitations on
                                                  on liability.

             17.      GENERAL

             17.1     Notices. All
                                 All notices of
                                             of termination
                                                termination or
                                                            or breach must
                                                                      must be
                                                                            be in English, in writing
                                                                                              writing and
                                                                                                      and addressed to
                      the other party's Legal Department. The address for notices to Google's Legal Department is
                      iegaknoticesçgooqlecom. All other notices must be in English, in writing, and addressed to
                      leqal-notices@qooqle.com.
                      the other party's Partner Manager. Notice will be treated as given on receipt, as verified by
                      written or automated receipt or by electronic log (as applicable).

             17.2
             17 .2    Assignment. Neither party may assign assign any
                                                                  any part of this
                                                                              this Agreement
                                                                                   Agreement without
                                                                                             without the
                                                                                                      the written consent
                                                                                                                  consent
                      of the other, except
                                    except to
                                           to an Affiliate where:
                                                           where: (a)
                                                                   (a) the assignee
                                                                           assignee agrees in writing
                                                                                              writing to
                                                                                                      to be bound
                                                                                                            bound byby the
                                                                                                                       the
                      terms of this Agreement, (b) the assigning party remains liable for obligations under this
                      Agreement if the assignee defaults on them, and (c) the assigning party has notified the other
                      party of the assignment.
                                   assignment. Any
                                                 Any other attempt to to assign is void.
                                                                                   void.

             17.3     Change of Control. During the Term, if a                   achange of control (for example,
                                                             a party experiences a
                                                              20
                                                              20




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                   MOTO-NDCAL-00207128
                                                                                                       MOTO-N DCAL-00207128

                                                                                                                    EXHIBIT 1231-028
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 29 of 39
             Google Confidential


                      through a astock
                                  stock purchase or sale, merger, or other form
                                                                             form of
                                                                                  of corporate transaction): (a) that
                                                                                                                 that party
                      will give written
                                written notice to
                                               to the other
                                                      other party within
                                                                  within 30 days
                                                                            days after the
                                                                                       the change of control; and
                                                                                                               and (b) the
                                                                                                                       the
                      other party may immediately terminate this Agreement any time between the change of control
                      and
                      and 30 calendar days after it receives that
                                                               that written
                                                                    written notice.
                                                                            notice.

             17.4     Subcontracting.
                      Subcontracting. Either party may subcontract
                                                            subcontract any of its obligations
                                                                                   obligations under
                                                                                               under this
                                                                                                     this Agreement
                                                                                                          Agreement but
                                                                                                                      but
                      will remain liable for all subcontracted obligations and its subcontractors' acts or omissions.

             17.5     Force Majeure. Neither party will
                                                   will be liable for
                                                                  for failure
                                                                      failure or
                                                                              or delay
                                                                                 delay in performance
                                                                                          performance to
                                                                                                      to the
                                                                                                         the extent
                      caused
                      caused by circumstances beyond its reasonable control.
                                                                      control.

             17.6     No Waiver.
                          Waiver. Neither party will
                                                  will be treated
                                                           treated as
                                                                    as having
                                                                       having waived
                                                                              waived any
                                                                                     any rights by not exercising (or
                      delaying the
                      delaying the exercise of) any
                                   exercise of) any rights  under this
                                                    rights under  this Agreement.
                                                                       Agreement.

             17.7
             17. 7    No Agency. This Agreement
                                      Agreement does
                                                does not create any agency,
                                                                    agency, partnership, or joint
                                                                                            joint venture between
                      the parties.

             17.8     No Third-Party
                         Third-Party Beneficiaries. This Agreement does not confer any benefits on any third party
                      unless it expressly states that it does.

             17.9     Counterparts.
                      Counterparts. The
                                     The parties
                                          parties may execute this
                                                                this Agreement
                                                                     Agreement inin counterparts, including facsimile,
                                                                                                            facsimile,
                      PDF, and other electronic copies, which taken together will constitute one instrument.

             17.10    Amendments. Any  Any amendment
                                            amendment must
                                                        must be in writing,
                                                                   writing, signed
                                                                            signed by both parties,
                                                                                           parties, and
                                                                                                    and expressly
                                                                                                        expressly state
                      that it is
                              is amending
                                 amending this Agreement.
                                               Agreement.

             17.11    Entire Agreement. This Agreement
                                                    Agreement states
                                                                  states all
                                                                          all terms agreed
                                                                                    agreed between the the parties andand
                      supersedes all other agreements between the parties relating to its subject matter.
                                                                                                     matter. In entering
                                                                                                                  entering
                      into this Agreement, neither party has relied on, and
                                                                         and neither party
                                                                                     party will
                                                                                           will have any
                                                                                                     any right
                                                                                                         right or
                                                                                                               or remedy
                                                                                                                   remedy
                      based on, any statement, representation, or warranty (whether made negligently or innocently),
                      except
                      except those
                               those expressly
                                     expressly stated in this Agreement.
                                                              Agreement.

             17.12    Severability.
                      Severability. If any term (or part of a   a term)
                                                                    term) of this
                                                                              this Agreement is invalid, illegal, or
                      unenforceable, the rest of the Agreement will continue in force unaffected.

             17.13    Governing    Law. This
                      Governing law.     This Agreement
                                              Agreement is
                                                        is governed
                                                           governed by California law, excluding
                                                                                       excluding California's choice
                                                                                                              choice
                      of law rules. ALL CLAIMS ARISING OUT OF OR RELATING TO       TO THE SUBJECT MATTER OF
                      THIS
                      THIS AGREEMENT WILL BE LITIGATED
                                                     LITIGATED EXCLUSIVELY IN THE     THE FEDERAL OR STATE   STATE
                      COURTS
                      COURTS OF SANTASANTA CLARA COUNTY,
                                                    COUNTY, CALIFORNIA, USA, AND    AND THE PARTIES CONSENT
                      TO PERSONAL JURISDICTION IN THOSE COURTS.  COURTS.



                                                       [Signature Page
                                                                  Page Follows]




                                                                  21
                                                                  21




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                  MOTO-NDCAL-00207129
                                                                                                      MOTO-N DCAL-00207129

                                                                                                                   EXHIBIT 1231-029
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
                 Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 30 of 39
             Google Confidential


             IN WITNESS WHEREOF, the parties have executed this Agreement by persons duly authorized as of
             the Effective Date.

            LENOVO GROUP LTD                                                     GOOGLE LLC




            By                                                                   By
                                                                                               ,..#•)
                                                                                                                                                   2020.02.25
            Name

            Title
                          Paul pitarra

                               Executive Director,               Procurement
                                                                                 NamE /4_/""' .,-·
                                                                                 Title        y                         d                          12:41:03
                                                                                                                                                 0 12:41 :o3
                                                                                                                                                        08'OO'
                                                                                                            Jamie
                                                                                                            Jamie Rosenberg
                                                                                                                  Rosenberg


            Date          2/25/2020
                          2/25/2020                                              Date
                                                                                                           Aithorized
                                                                                                           Authorized Signatory
                                                                                                                      Signatory
                                                                                                                                                        08'00'

            MOTOROLA MOBILITY LLC, solely for the                                GOOGLE ASIA PACIFIC PTE. LTD.
            purpose of receiving payments under
            this Agreement


            By                1-   -OOSOredbe.




                                   P
                                   au fflyY
                                                                                 By
                                                                                 By         5).,,•o 62020.02.2
                                                                                                     2020.02.2
                                                                                                       14:47:05
            Name        Paura
                        PauT' pl farra                                           Name         Lavanya  flwethataoyan
                                                                                              Lavan ya Swetharanyan                              614:4 7.05

            Title
                                                                                 - - (30091P.
                                                                                               Director
                                                                                               Director
                                                                                     Google Asia   Pacific Pte.
                                                                                              Asia Pacific Pte. Ltd
                                                                                                                Ltd                              +0800 1
                                                                                                                                                 +08'00'
                              Executive Director,                Procurement     Title

            Date
            Date      2/25/2020                                                  Date



            GOOGLE COMMERCE LIMITED                                              GOOGLE
                                                                                 GOOGLE IRELAND LIMITED
                                                                                        IRELAND LIMITED




            By                                                                   By

            Name
                                                         2020.02.26
                                                         2Q2Q.Q2.26              Name
                                                                                             :+ 0fl r. $     ro
                                                                                                                    ;'i}:.~·<: 1~:• ;':, ~•l.,       2020.02.26
                                                         l 4:3l :04 l                                                                                14:31:19Z
                      Co. CiCreosie sreaarro,eoneroioo


            Title
            Title                                           —,   I   './T        Title
                                                                                 Title                                                               l 4:3 l :l 9 Z
            Date                                                                 Date
                                                                                 Date




                                                                            22




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'             -                                                                                                    MOTO-NDCAL-002071
                                                                                                                                                 MOTO-N            30
                                                                                                                                                        DCAL-00207130

                                                                                                                                                          EXHIBIT 1231-030
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 31 of 39
             Google Confidential


                                                            ATTACHMENT
                                                            ATTACHMENT A
                                                                       A

                                                                INCENTIVE
                                                                INCENTIVE

             Subject to the
                        the terms and conditions
                                       conditions of the Agreement
                                                         Agreement (including Section 11 (Payment and
                                                                                                  and Taxes)),
                                                                                                      Taxes)),
             during the
                    the Term, Google will
                                     will pay Company Incentive as
                                                                as follows:
                                                                   follows:

             1.
             1.       FOUNDATION TIER
                      FOUNDATION      DEVICE
                                 TIER DEVICE

             1.1      Foundation Tier Monthly Incentive. Google will pay US$500,000 per month, provided
                                                                      4(Foundation Tier
             Company meets all the requirements set forth in Sections 4            Tier Device) and 7
                                                                                                    7 (Company
             Obligations) in a
                             a given calendar month during the Term ("Foundation
                                                                    ("Foundation Tier
                                                                                 Tier Monthly Incentive").

             1.2
             1.2      Foundation Tier
                      Foundation   Tier Bonus
                                          Bonus Incentive.
                                                  Incentive. If Company (i) is eligible
                                                                               eligible for
                                                                                        for and
                                                                                             and receives Foundation Tier
                                                                                                                      Tier
             Monthly Incentive,
             Monthly  Incentive, and
                                 and (ii)
                                     (ii) (x)
                                           (x) completes
                                               completes any
                                                         any of  the Categories
                                                              of the Categories defined
                                                                                 defined inin Section
                                                                                              Section 4.4
                                                                                                      4.4 (Letter Upgrade
                                                                                                          (Letter Upgrade
             Obligations), and (y) meets all the requirements set forth in Section 4.5 (Security Update Obligations),
             Google will provide the corresponding monthly incentive or one-time bonus payment in accordance
             with the following ("Foundation Tier Bonus Incentive"). For the avoidance of doubt, Google will
             provide Foundation Tier
                                  Tier Bonus Incentive in addition
                                                            addition to
                                                                      to Foundation Tier
                                                                                      Tier Monthly
                                                                                           Monthly Incentive that Google
             provides pursuant to Section 1.1 of this Attachment A.

                      •• US$150,000 per calendar month for the rest of the Term, if Category 1          Iis completed.
                      •• US$200,000 per calendar month for the rest of the Term, if Category 2          2 is completed.
                      •• US$200,000 per calendar
                                             calendar month forfor the rest of the
                                                                               the Term,
                                                                                   Term, ifif Category
                                                                                              Category 33 is
                                                                                                          is completed.
                                                                                                             completed.
                      •• A "Categories 1
                         A                1through 3  3 completion bonus" of US$250,000 per calendar month for the
                         rest of the Term, if Categories 1, 2, and 3    3 are all completed (in addition to the amounts
                         set
                         set forth
                             forth in the first three
                                                three bullets above for
                                                                     for completion
                                                                         completion ofof Categories
                                                                                         Categories 1, 22 and 3).
                                                                                                                3).
                      •• A
                         A one-time bonus payment of                            Category 4
                                                         of US$3,500,000, if Category       4 is completed by March 31,
                                                                                                                      31,
                         2022.
                         2022.
                      •• A
                         A one-time bonus payment of US$3,500,000, if Category 5            5is completed by March 31,
                         2022.
                         2022.

                      Separately, Company has
                                          has the
                                              the opportunity
                                                  opportunity to
                                                              to earn a
                                                                      a one-time bonus payment
                                                                                       payment as
                                                                                               as follows:
                                                                                                  follows:

                      •• A
                         A one-time bonus payment of US$8,000,000 payable by March 26,               26, 2021,
                                                                                                          2021, ifif Company
                         reaches either of the following metrics (such metrics, the "Bonus Targets"): (1) a           a total of
                         55.0
                         55.0 million Android
                                       Android Compatible Devices manufactured by       by Company
                                                                                           Company and distributed or   or sold
                         in the
                            the Territory
                                 Territory that are
                                                are smartphones or  or tablets
                                                                       tablets are activated
                                                                                    activated during
                                                                                              during the
                                                                                                       the Initial Term
                                                                                                                   Term or (2)
                         a
                         a total of 50.0 million Android Compatible Devices manufactured by Company and
                         distributed or sold in the
                                                 the Territory that are
                                                                     are smartphones
                                                                         smartphones only are activated
                                                                                                  activated during the
                                                                                                                     the Initial
                         Term.
                         Term. For purposes of    of this calculation, Android
                                                                        Android Compatible
                                                                                 Compatible Devices that that are Company-
                         manufactured and -branded and that are covered under the Previous Revenue Share
                         Agreement,
                         Agreement, as wellwell as
                                                as covered
                                                   covered under this
                                                                    this Agreement,
                                                                         Agreement, meeting the the criteria
                                                                                                    criteria of the preceding
                         sentence will
                                    will be counted. For the
                                                           the sake
                                                               sake of clarity, Foundation Tier
                                                                                             Tier Devices forfor which
                                                                                                                 which Google
                                                                                                                       Google
                         opts to
                               to waive a a requirement in writing or or under Attachment
                                                                                Attachment D D but that otherwise
                                                                                                          otherwise meet all  all
                         the other
                              other Foundation Tier
                                                  Tier Requirements willwill be counted as
                                                                                         as Foundation Tier
                                                                                                          Tier Devices.

             1.3       Foundation Tier
                                   Tier Incentive Measurement. Google or   or its Affiliates
                                                                                  Affiliates will measure within
                                                                                                          within ten
                                                                                                                 ten (10)
                                                                                                                     (10)
                                                      ('Foundation Tier
             days after the 28th day of each month ("Foundation        Tier Bonus Incentive Measurement Date")
             whether Company has completed any of the Categories and has met the criteria for an additional one-
             time bonus payment mentioned above. Google or its Affiliates will use commercially reasonable efforts
             to notify Company of
                                of its measurement results within fourteen (14) days
                                                                                 days after the Foundation Tier
                                                                                                             Tier Bonus
             Incentive Measurement Date.

             1.4
             1.4     Foundation Tier
                     Foundation  Tier Incentive
                                       Incentive Payments.
                                                 Payments.       Payments related
                                                                 Payments related to
                                                                                   to Foundation
                                                                                       Foundation Tier
                                                                                                   Tier Monthly
                                                                                                        Monthly
             Incentives and
                        and Foundation Tier Bonus Incentives will
                                                             will be made by the last day of the
                                                                                             the calendar
                                                                                                 calendar month
                                                                     23
                                                                     23




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                      MOTO-NDCAL-002071 31
                                                                                                          MOTO-NDCAL-00207131

                                                                                                                        EXHIBIT 1231-031
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 32 of 39
             Google Confidential


             following
             following the
                       the calendar   month in
                            calendar month    in which
                                                 which the  measurement was
                                                        the measurement was performed.
                                                                              performed. All  other terms
                                                                                          All other terms regarding
                                                                                                          regarding
             payments will
             payments   will be
                             be subject
                                subject to
                                        to Section  11 (Payment
                                           Section 11           and Taxes)
                                                       (Payment and Taxes) of
                                                                           of this Agreement.
                                                                              this Agreement.

             2.        PREMIER TIER DEVICE

             2.1      Premier Tier Monthly Incentive. In       In addition
                                                                   addition to  any payments
                                                                            to any    payments payable
                                                                                                 payable underunder Section
                                                                                                                     Section 11
             (Foundation Tier
             (Foundation   Tier Device),
                                Device), subject
                                           subject to
                                                   to Sections
                                                      Sections 2.2
                                                                2.2 through
                                                                     through 2.5
                                                                             2.5 of this Attachment
                                                                                 of this Attachment A,
                                                                                                     A, ifif any Device meets
                                                                                                             any Device meets
             all the requirements set
                                    set forth
                                        forth in           5 (Premier Tier Device) and
                                               in Sections 5                                7 (Company Obligations)
                                                                                        and 7               Obligations) of
                                                                                                                         of the
                                                                                                                            the
             Agreement,    Google will
             Agreement, Google      will provide
                                          provide one
                                                    one of  the following
                                                         of the  following monthly
                                                                            monthly incentives    (Premier Tier Monthly
                                                                                       incentives ("Premier
             Incentive") to Company
                             Company in  in the
                                            the amount specified below.

             From February
             From February 1,
                           1, 2020
                              2020 to January 31,
                                   to January     2021:
                                              31, 2021:

                  •• US$4,800,000 for any calendar month, if the Device Enrollment Base % (as defined below) is
                     equal
                     equal to or more than
                                      than 95%;
                  •• US$3,000,000 for any calendar
                                            calendar month, if the
                                                               the Device Enrollment Base % isis equal
                                                                                                 equal to
                                                                                                        to or
                                                                                                           or more
                     than
                     than 80% but less than 95%;
                  •• US$1,
                     US$1,100,000
                           100,000 for any calendar month, if the Device Enrollment Base % is equal to or more
                     than 60% but less than 80%;
                  •• US$200,000 for any calendar month,
                                                  month, if the Device Enrollment Base % is
                                                                       Enrollment Base%  is equal
                                                                                            equal to or
                                                                                                     or more than
                                                                                                              than
                     40% but less than 60%; or
                  •• US$50,000 for any calendar month, if the Device Enrollment Base % is equal to or more than
                     20%
                     20% but less
                              less than
                                   than 40%.
                                        40%.

             From February
             From February 1,
                           1, 2021
                              2021 to January 31,
                                   to January     2022, only
                                              31, 2022, only if
                                                             if this
                                                                this Agreement is extended
                                                                     Agreement is extended by
                                                                                           by Google:
                                                                                              Google:

                  •• US$6,000,000 for any calendar month, if (a) the Device Enrollment Base%
                                                                                         Base % is equal to or more
                     than
                     than 98% AND
                               AND (b) Company met met the
                                                       the Bonus Targets;
                                                                    Targets;
                  •• US$5,500,000 for any calendar month, if the Device Enrollment Base % is equal to or more
                     than 95%;
                     than 95%;
                  •• US$3,400,000 for any calendar
                                            calendar month, if thethe Device Enrollment Base %% is
                                                                                                 is equal
                                                                                                    equal toto or
                                                                                                               or more
                     than 80% but less than 95%;
                  •• US$1,300,000
                     US$1 300,000 for any calendar month, if the Device Enrollment Base % is equal to or more
                     than 60% but less than 80%;
                  •• US$200,000
                     US$200,000 for
                                  for any
                                      any calendar
                                          calendar month,  if the
                                                   month, if  the Device
                                                                   Device Enrollment Base % is
                                                                          Enrollment Base%  is equal  to or
                                                                                               equal to      more than
                                                                                                         or more  than
                     40%
                     40% but less
                             less than 60%; or
                  •• US$50,000 for any
                                    any calendar
                                         calendar month, if the Device Enrollment Base % is equal to to or
                                                                                                         or more
                                                                                                             more than
                                                                                                                  than
                     20% but less than 40%.

             For purposes of the foregoing, "Device Enrollment Base %"                %" will be calculated based on the last day
             of each
             of each calendar
                       calendar month,
                                   month, byby Google
                                                 Google using
                                                           using Google's
                                                                   Google's activations
                                                                               activations data,
                                                                                           data, as as (i) the cumulative
                                                                                                       (i) the  cumulative number
                                                                                                                              number of   of
             activations of Premier TierTier Devices Launched during   during the
                                                                               the Term
                                                                                    Term divided by (ii) thethe cumulative
                                                                                                                 cumulative number of
             activations of
             activations         Foundation Tier
                            of Foundation               Devices, Premier
                                                 Tier Devices,       Premier TierTier Devices,
                                                                                       Devices, and and other      Devices Launched
                                                                                                           other Devices      Launched
             during the
             during       Term.
                     the Term.
                  •• For thethe avoidance of   of doubt, the number of       of Foundation Tier
                                                                                              Tier Device activations will  will include
                       activation
                       activation of any Foundation Tier Device for        for which
                                                                               which Google
                                                                                       Google opts
                                                                                                opts to
                                                                                                      to waive a  a requirement under
                       this Agreement (either
                       this Agreement     (either inin writing
                                                       writing or   under Attachment
                                                                or under   Attachment D) D) but
                                                                                             but that
                                                                                                  that otherwise    meets all
                                                                                                       otherwise meets     all the
                                                                                                                                the other
                                                                                                                                     other
                       Foundation Tier
                       Foundation          Device requirements,
                                      Tier Device     requirements, and and the
                                                                             the number
                                                                                  number of    Premier Tier
                                                                                           of Premier           Device activations
                                                                                                          Tier Device   activations willwill
                       include activation of  of any
                                                 any Premier Tier Tier Device
                                                                        Device for which
                                                                                      which Google
                                                                                             Google opts to   to waive a a requirement
                       under this
                       under        Agreement (either
                               this Agreement      (either in
                                                            in writing
                                                               writing or
                                                                        or under   Attachment D)
                                                                           under Attachment      D) but
                                                                                                     but that  otherwise meets
                                                                                                         that otherwise   meets all all the
                                                                                                                                        the
                       other  Premier Tier
                       other Premier           Device requirements;
                                         Tier Device                        however, Exempted
                                                         requirements; however,        Exempted Devices
                                                                                                     Devices (as(as defined
                                                                                                                    defined inin Section
                                                                                                                                  Section
                       1.29 of
                             of the Agreement)
                                     Agreement) will not be included.
                  •• For
                       For clarity,
                            clarity, the Device Enrollment
                                     the Device     Enrollment Base
                                                                  Base % % will
                                                                             will be  100% from
                                                                                  be 100%   from the    Effective Date
                                                                                                    the Effective   Date until   the date
                                                                                                                          until the   date
                       of
                       of Launch
                          Launch of    the first
                                    of the        Premier Tier
                                           first Premier          Device Model
                                                             Tier Device    Model under
                                                                                    under this
                                                                                          this Agreement,
                                                                                                Agreement, afterafter which
                                                                                                                      which the    Device
                                                                                                                             the Device
                       Enrollment Base % formula will be used. Company will use best efforts to Launch the first

                                                                          24




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'      -                                                                             MOTO-NDCAL-002071
                                                                                                                   MOTO-N            32
                                                                                                                          DCAL-00207132

                                                                                                                                  EXHIBIT 1231-032
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 33 of 39
             Google Confidential


                        Premier Tier Device Model under this Agreement by no later than March 31, 2020.

             2.2        Adjustment by Activation Performance

             (a)      Baseline Value
                                Value Comparison
                                       Comparisons.s. Google
                                                       Google will monitor, on a
                                                                               a quarterly basis,
                                                                                           basis, performance of
             activations of Android Compatible Devices manufactured by Company and distributed under this
             Agreement or under the Previous Revenue Share Agreement against a    acorresponding Baseline Value,
             starting from April
                            April 1, 2020
                                     2020 and continuing through
                                                            through the
                                                                    the Term.
                                                                        Term. The
                                                                              The Baseline Values
                                                                                            Values will
                                                                                                    will represent
                                                                                                         represent
             Company's quarterly activations of Android Compatible Devices manufactured by Company in calendar
             year 2019. There will be four total Baseline Values, which are:

                   ••   Q1-2019 Baseline
                        Q1-2019 Baseline Value
                                         Value
                   ••   Q2-2019 Baseline Value
                   ••   Q3-2019 Baseline Value
                   ••   Q4-2019 Baseline Value

             For clarity, calendar year 2020 quarterly activations will be compared against the same quarter
             activations of calendar year 2019, which are the Q1-2019
                                                                    QI-2019 through Q4-2019 Baseline Values.
             Furthermore, if this Agreement is extended, calendar year 2021 quarterly activations will also be
             compared against the calendar year 2019 Baseline Values. For clarity, Android Compatible Devices
             that are Company-manufactured and -branded and that are covered under the Previous Revenue Share
             Agreement,
             Agreement, as well
                              well as
                                   as covered under this
                                                    this Agreement,
                                                         Agreement, meeting the criteria
                                                                                criteria of
                                                                                         of the preceding sentence
                                                                                                          sentence
             will be counted.

             (b)        Activations
                        Activations Performance Decline.

                        (i)     If, for any
                                        any quarter during
                                                    during the Term,
                                                                Term, Google finds
                                                                              finds greater
                                                                                    greater than
                                                                                            than 15% volume
                                                                                                     volume decrease in  in
                                activations compared
                                             compared with
                                                         with the
                                                              the corresponding Baseline Value,
                                                                                            Value, Google may at
                                                                                                               at its sole
                                                                                                                      sole
                                discretion (A) withhold from the Premier Tier Monthly Incentive payable in the next
                                month an amount proportional to the percentage by which Company is lower than the
                                corresponding Baseline Value,
                                                           Value, and/or (B) reduce
                                                                             reduce the
                                                                                      the amount
                                                                                          amount of Premier Tier
                                                                                                            Tier Monthly
                                Incentive proportionately until the next measurement period.

                        (ii)    If, for the final quarter of the Term, Google finds that Company has fewer activations
                                compared with with the Q4-2019 Baseline Value,
                                                                         Value, Company will
                                                                                          will ship a
                                                                                                    a number
                                                                                                      number of Premier
                                Tier Devices after the Term that represents the difference between actual activations
                                during such final quarter and the Q4-2019 Baseline Value.

                        (iii)
                        (iii)   Notwithstanding anything
                                Notwithstanding anything to the contrary
                                                         to the          in this
                                                                contrary in this Agreement,
                                                                                 Agreement, Google may terminate
                                                                                            Google may terminate this
                                                                                                                 this
                                Agreement with immediate effect if Company is more than 40% lower in activations
                                compared to the
                                            the corresponding Baseline Value.
                                                                          Value.

             (c)        Activations Performance Increase.

                        (I)
                        (i)     If Google finds greater than 15% volume increase in  in activations during the Initial Term
                                over 55.0 million Android Compatible Devices (smartphones and tablets) manufactured
                                by
                                by Company for distribution or sales in   in the
                                                                             the Territory
                                                                                  Territory or over
                                                                                                over 50.0
                                                                                                      50.0 million
                                                                                                            million Android
                                                                                                                     Android
                                Compatible Devices (smartphones only) manufactured by Company for         for distribution or
                                                                                                                            or
                                sales in the Territory, Google may (A) increase the Premier Tier Monthly Incentive by
                                an amount proportional
                                               proportional to
                                                             to the
                                                                 the percentage that
                                                                                   that Company is higher than     than thethe
                                corresponding Baseline Value in the the next month,
                                                                              month, and/or
                                                                                      and/or (B) increase
                                                                                                  increase the
                                                                                                             the amount of
                                Premier Tier Monthly Incentive proportionately until the next measurement period. For
                                the avoidance
                                    avoidance of doubt, the
                                                          the number
                                                               number of Foundation Tier
                                                                                       Tier Device activations will
                                                                                                                 will include
                                activation of
                                           of any Foundation Tier
                                                               Tier Device for
                                                                           for which
                                                                               which Google
                                                                                     Google opts
                                                                                              opts to
                                                                                                   to waive
                                                                                                      waive a arequirement
                                under this Agreement (either in writing or under Attachment D) but that otherwise meets

                                                                    25




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                    MOTO-NDCAL-002071
                                                                                                        MOTO-N            33
                                                                                                               DCAL-00207133

                                                                                                                     EXHIBIT 1231-033
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 34 of 39
             Google Confidential
             Google Confidential



                                 all the
                                 all the other   Foundation Tier
                                          other Foundation            Device requirements,
                                                                Tier Device    requirements, and
                                                                                               and the    number of
                                                                                                     the number        Premier Tier
                                                                                                                    of Premier  Tier
                                 Device activations
                                 Device    activations will  include activation
                                                       will include               of any
                                                                      activation of  any Premier
                                                                                         Premier Tier    Device for
                                                                                                   Tier Device    for which
                                                                                                                      which Google
                                                                                                                            Google
                                 opts to
                                 opts     waive a
                                       to waive  arequirement
                                                   requirement under
                                                                  under this
                                                                          this Agreement
                                                                               Agreement (either
                                                                                           (either in writing or
                                                                                                   in writing or under
                                                                                                                 under Attachment
                                                                                                                        Attachment
                                 D) but
                                 D)  but that  otherwise meets
                                          that otherwise    meets all
                                                                   all the
                                                                       the other  Premier Tier
                                                                            other Premier        Device requirements;
                                                                                            Tier Device                   however,
                                                                                                          requirements; however,
                                 Exempted Devices
                                 Exempted     Devices (as
                                                        (as defined
                                                             defined inin Section
                                                                          Section 1.29
                                                                                   1.29 of the Agreement)
                                                                                        of the Agreement) willwill not
                                                                                                                   not be included.
                                                                                                                       be included.

             2.3      Geography. Company will  will use best efforts
                                                               efforts to
                                                                        to ensure a a minimum ofof 20% of Premier Tier
                                                                                                                   Tier Device
             activations, for
             activations, for every
                              every twelve-month    period, are
                                    twelve-month period,          in the
                                                             are in  the following
                                                                          following geographies:
                                                                                     geographies: the  United States,
                                                                                                   the United States, Canada,
                                                                                                                      Canada,
             Japan, Australia,
             Japan,  Australia, and  New Zealand.
                                 and New   Zealand. IfIf the
                                                         the above     percentage is
                                                              above percentage        is not
                                                                                         not met,
                                                                                             met, Google
                                                                                                  Google may
                                                                                                          may decrease   in its
                                                                                                               decrease in  its
             sole discretion
             sole discretion the
                              the amount
                                  amount of  Premier Tier
                                          of Premier   Tier Monthly
                                                             Monthly Incentive.
                                                                         Incentive.

             2.4      Premier Tier Incentive Measurement. Google       Google or  its Affiliates
                                                                               or its Affiliates will
                                                                                                 will measure
                                                                                                      measure within
                                                                                                                 within ten  (10)
                                                                                                                        ten (10)
             days after
             days  after the 28th day
                         the 28th  day of  each month
                                       of each   month ('Premier
                                                         ("Premier Tier Monthly Incentive Measurement Date") whether    whether
             Company has
             Company     has met
                              met the
                                   the criteria
                                       criteria for
                                                for the  Premier Tier
                                                     the Premier  Tier Monthly
                                                                       Monthly Incentive
                                                                                Incentive and
                                                                                            and whether   any adjustments
                                                                                                 whether any    adjustments are
                                                                                                                              are
             to be
             to be made.
                    made. Google
                             Google oror its
                                         its Affiliates
                                             Affiliates will use commercially
                                                        will use commercially reasonable
                                                                                reasonable efforts
                                                                                              efforts to
                                                                                                      to notify  Company of
                                                                                                         notify Company        its
                                                                                                                            of its
             measurement results
             measurement      results within  fourteen (14)
                                      within fourteen    (14) days
                                                              days after
                                                                    after the Premier Tier
                                                                          the Premier        Monthly Incentive
                                                                                       Tier Monthly    Incentive Measurement
                                                                                                                  Measurement
             Date.
             Date.

             2.5
             2.5      Premier Tier
                      Premier        Incentive Payment.
                                Tier Incentive  Payment. Payments
                                                           Payments related
                                                                      related to
                                                                               to Premiere  Tier Monthly
                                                                                  Premiere Tier   Monthly Incentives  will
                                                                                                           Incentives will
             be made
             be  made by
                       by the
                          the last
                              last day
                                   day of
                                       of the
                                          the calendar month following
                                              calendar month following the
                                                                        the calendar   month in
                                                                            calendar month   in which
                                                                                                 which the
                                                                                                       the measurement
                                                                                                           measurement
             was  performed. All
             was performed.        other terms
                               All other terms regarding
                                               regarding payments
                                                         payments will  be subject
                                                                   will be subject to
                                                                                    to Section  11 (Payment
                                                                                       Section 11             and Taxes)
                                                                                                   (Payment and   Taxes)
             of the
             of the Agreement.
                    Agreement.

             3.         ADJUSTMENT OF
                                   OF OTHER PROGRAMS.

             Notwithstanding the
             Notwithstanding   the foregoing
                                      foregoing oror anything     else in
                                                       anything else    in the
                                                                           the Agreement,
                                                                               Agreement, from
                                                                                             from the     Effective Date,
                                                                                                    the Effective     Date, Google
                                                                                                                             Google
             reserves the
             reserves  the right
                           right to
                                  to cease
                                       cease all   payments available
                                              all payments     available under
                                                                           under all
                                                                                 all other  agreements or
                                                                                     other agreements           programs in
                                                                                                            or programs        effect
                                                                                                                            in effect
             between Company
             between  Company and/orand/or its
                                            its Affiliates, on the
                                                Affiliates, on  the one
                                                                    one hand,
                                                                          hand, and   Google and/or
                                                                                and Google    and/or its
                                                                                                       its Affiliates,
                                                                                                           Affiliates, on
                                                                                                                        on the
                                                                                                                           the other
                                                                                                                               other
             hand, including
             hand, including those
                              those agreements
                                        agreements or     programs listed
                                                       or programs    listed below
                                                                             below (which,
                                                                                    (which, for
                                                                                            for the  sake of
                                                                                                the sake    of clarity,  may not
                                                                                                                clarity, may  not be
                                                                                                                                  be
             acomprehensive
             a comprehensive list):
                                 list):

                   1.
                   1.   GFW Device
                        GFW   Device Program
                                      Program Agreement
                                                 Agreement effective
                                                             effective as
                                                                        as of
                                                                           of December
                                                                              December 1,  1, 2018
                                                                                              2018 between
                                                                                                    between Google      LLC and
                                                                                                               Google LLC   and
                        Motorola Mobility
                        Motorola  Mobility LLC
                                            LLC
                   2.
                   2.   Smart Stand
                        Smart          Device Program
                               Stand Device     Program Agreement
                                                         Agreement effective
                                                                       effective as
                                                                                  as of
                                                                                     of October
                                                                                        October 21,21, 2019    between Google
                                                                                                       2019 between      Google
                        Asia Pacific Pte.
                        Asia Pacific Pte. Ltd.
                                           Ltd. and
                                                and Lenovo
                                                    Lenovo PCPC HK
                                                                 HK Ltd.
                                                                     Ltd.
                   3.
                   3.   Google Productivity
                        Google  Productivity Apps   Mobile Distribution
                                               Apps Mobile  Distribution and  Marketing Agreement
                                                                          and Marketing                 effective as
                                                                                          Agreement effective        of October
                                                                                                                  as of October
                        25, 2016
                        25, 2016 between
                                  between Google
                                             Google LLC
                                                     LLC and
                                                          and Motorola
                                                               Motorola Mobility
                                                                          Mobility LLC,
                                                                                   LLC, as
                                                                                         as subsequently
                                                                                             subsequently amended
                                                                                                             amended
                   4.
                   4.   Google Placement
                        Google  Placement Bonus
                                              Bonus Agreement
                                                    Agreement effective     as of
                                                                 effective as     November 11,
                                                                               of November     11, 2017  between Google
                                                                                                   2017 between    Google LLC
                                                                                                                            LLC
                        and  Motorola Mobility
                        and Motorola    Mobility LLC,
                                                 LLC, together   with all
                                                       together with       subsequent amendments,
                                                                       all subsequent   amendments, including
                                                                                                          including Placement
                                                                                                                     Placement
                        Bonus Program
                        Bonus  Program Addendum
                                          Addendum Agreement
                                                      Agreement No.    2: Google
                                                                   No. 2:          News App,
                                                                           Google News    App, effective
                                                                                                effective as
                                                                                                           as of September 26,
                                                                                                              of September   26,
                        2018
                        2018




                                                                       26
                                                                       26




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'     -                                                                         MOTO-NDCAL-002071
                                                                                                              MOTO-N            34
                                                                                                                     DCAL-00207134

                                                                                                                            EXHIBIT 1231-034
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 35 of 39
             Google Confidential


                                                          ATTACHMENT B
                                                          ATTACHMENT B

                                           PREMIER TIER
                                                   TIER SERVICE
                                                        SERVICE ACCESS POINTS

             Subject to
                      to Section 6(Permitted Activities),
                         Section 6             Activities), (i) all
                                                                all Search
                                                                    Search Access
                                                                           Access Points on Premier Tier
                                                                                                    Tier Devices must
             utilize Google Search,
                            Search, and
                                    and (ii) each of the
                                                      the below-listed Service Access
                                                                                Access Points must meet the
                                                                                                         the Minimum
             Usage and Placement Requirements.

                             Service
                             Service Access
                                     Access Point                             Minimum Usage and Placement
                                                                                     Requirements
                                                                                     Requirements
              Browser frame on all implemented, preloaded, or         Set to Google.com or, if applicable, set to send
              otherwise installed browsers
                                  browsers (aka
                                           (aka Omnibox,
                                                Omnibox,              invalid URLs as
                                                                                   as search
                                                                                      search query to Google.com.
              address bar, in-frame search box)

               Default home
               Default home page/start
                            page/start page
                                       page on
                                            on all
                                               all                    Set to Google.com
                                                                      Set to Google.com or, or, if
                                                                                                if applicable,
                                                                                                   applicable, local Google
                                                                                                               local Google
               implemented, preloaded, or otherwise installed         domain in the country in which Premier Tier
               browsers                                               Device is
                                                                              is distributed.
                                                                                 distributed.

              New tab page onon all implemented,
                                    implemented, preloaded, or
                                                            or        Set
                                                                      Set to Google.com or, if applicable, local
                                                                                                           local Google
              otherwise installed browsers                            domain in the country in which Premier Tier
                                                                      Device is
                                                                              is distributed.
                                                                                 distributed.

              All
              All search intents actions,
                                 actions, requests,
                                          requests, and
                                                    and defaults
                                                        defaults      Set
                                                                      Set to Google.com or, if applicable, local
                                                                                                           local Google
              on the Premier Tier Device, as determined by            domain in the country in which Premier Tier
              Google, including "search" and "Web
                                                Web search"           Device is
                                                                              is distributed.
              intents


               Implemented, preloaded, or otherwise installed         Set to Google.com or, if applicable, local Google
               Launcher(s)                                            domain
                                                                      domain in the country
                                                                                      country in
                                                                                              in which Premier Tier
                                                                                                               Tier
                                                                      Device is
                                                                      Device  is distributed.
                                                                                 distributed.
                                                                      Set
                                                                      Set as aa default browser to
                                                                                                to handle all browser
                                                                                                              browser
              Chrome Browser
                                                                      intents.

                                                                      Chrome
                                                                      Chrome Browser icon placed
                                                                                          placed on
                                                                                                 on the
                                                                                                    the Application
                                                                                                        Application
                                                                      Dock.




                                                                 27




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                                  MOTO-NDCAL-002071
                                                                                                      MOTO-N            35
                                                                                                             DCAL-00207135

                                                                                                                   EXHIBIT 1231-035
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 36 of 39
             Google Confidential


                                                          ATTACHMENT C
                                                          ATTACHMENT C


                 1.   Australia
                 2.   Brazil
                 3.   EEA
                 4.   India




                                                                28




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                     MOTO-NDCAL-002071
                                                                         MOTO-N            36
                                                                                DCAL-00207136

                                                                                EXHIBIT 1231-036
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 37 of 39
             Google Confidential


                                                          ATTACHMENT D
                                                          ATTACHMENT D

              EXEMPTIONS TO INCENTIVE IMPLEMENTATION REQUIREMENTS AND SECTION 4.1 OF THIS
                                              AGREEMENT


             1.       Changes to Incentive Implementation Requirements

             1.1      Section 2.1 (Minimum hardware specifications). In Section 2.1 of the Incentive Implementation
                      Requirements, the
                      Requirements,   the following
                                          following Devices
                                                    Devices will   be exempt
                                                              will be         from compliance
                                                                      exempt from   compliance with
                                                                                                 with the
                                                                                                       the Assistant
                                                                                                           Assistant
                      hardware button requirement set forth therein:

                       •• Motorola- and Lenovo-manufactured and  and -branded
                                                                      -branded smartphones that
                                                                                             that are generally
                                                                                                      generally known
                          (internally or by their market name) as
                                                               as follows: Moto G8
                                                                  follows: Mato GS family, Moto E6 family,
                                                                                   family, Mota             Moto Edge
                                                                                                    family, Mato
                          family, Mato
                                  Moto Razr family, Mato
                                                       Moto One Fusion/+/5G, Lenovo Legion gaming device, and
                          Lenovo ultra-low tier device.
                       •• All Lenovo-manufactured and -branded
                                                          -branded tablets Launched during
                                                                                     during the Term.
                                                                                                Term.

             1.2      Section 3.4 (GMS SetupWizard). The final bullet
                                                                  bulletin
                                                                        in Section 3.4 of the Incentive Implementation
                      Requirements is deleted
                                      deleted in its entirety
                                                     entirety and replaced with the
                                                                                 the following:

                       •• "Assistant setup wizard integration MUST be implemented per Assistant requirements as
                          described in the link as of the Effective Date. If Google makes any change to these
                          requirements after
                                        after the Effective Date, Company MUST implement thethe change
                                                                                                change within  a
                                                                                                        within a
                          commercially reasonable timeframe."

             1.3      Section        (Gooqle Apps
                      Section 3.5.1 (Google   Apps Preloads). The
                                                              The following sentences
                                                                            sentences are added
                                                                                          added to the
                                                                                                   the end
                                                                                                       end of
                                                                                                           of Section
                                                                                                              Section
                      3.5.1 of the Incentive Implementation Requirements:

                      "The requirement that Google Fit be preloaded on all Foundation Tier Devices will only apply
                      to
                      to Device Models Launched after April
                                                         April 1, 2020.
                                                                  2020.
                      The requirement that Google Applications (as listed in "Preloads Location" under Section 3.5. 1)
                                                                                                               3.5.1)
                      be installed in the system partition of all Foundation Tier Devices will only apply to Device
                      Models Launched after April 1, 2020."

             1.4      Section 3.5.5 (Google
                                    (Gooqle Pay). The final sentence of Section 3.5.5 of the Incentive Implementation
                      Requirements is deleted
                                       deleted in its entirety
                                                      entirety and replaced with the
                                                                                 the following:

                      •• "Pay
                          Pay specifications MUST be implemented per the Pay specifications requirements
                         described in the link as of the Effective Date. If Google makes any change to these
                         requirements
                         requirements after
                                       after the Effective Date, Company MUST implement the
                                                                                          the change
                                                                                              change within a
                                                                                                     within a
                         commercially reasonable timeframe."

             1.5      Section 3.5.8 (Google
                                     (Gooqle Apps Placement). The following is added to the end of Section 3.5.8 of
                      the Incentive Implementation Requirements:

                       •• "Google Fit and Wallet shortcut MUST be added to the Google Folder on all Foundation
                                                  a timeframe and
                          Tier Devices subject to a           and technical details to
                                                                                    to be
                                                                                       be agreed by
                                                                                                 by the
                                                                                                    the parties in
                                                                                                                in
                          good faith."

             1.6      Section 3.6 (OEM application preloads).

                   (a) In Section 3.6 of the Incentive Implementation Requirements, the line "MUST be available in
                       Google Play" is deleted and replaced with the following:

                                                                29
                                                                29




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                                              MOTO-NDCAL-002071
                                                                                                  MOTO-N            37
                                                                                                         DCAL-00207137

                                                                                                              EXHIBIT 1231-037
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1-4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 38 of 39
             Google Confidential


                      ••"MUST be available in Google Play, except for the following:
                            o An application provided by an SOC
                            o                                   Soc or hardware partner that is required for core
                                functionality of the Device in Google's discretion and has no user-visible icon
                                executable from the launcher or app tray.
                            o An
                            o   An application that has
                                                    has been approved
                                                              approved in writing by
                                                                                   by Google
                                                                                      Google for
                                                                                             for a
                                                                                                 a waiver."
                                                                                                   waiver."

                   (b) In Section 3.6 of the Incentive Implementation Requirements, the line "MUST NOT contain
                       INSTALL PACKAGES permissions" is deleted and replaced with the following:
                                                                                        following:

                      ••"OEM Application preloads MUST NOT contain INSTALL_PACKAGES
                                                                         INSTALL— PACKAGES permissions except
                         for the following:
                              o App stores owned and operated by Telecom Operators who have their Client ID
                              o
                                  on the Device
                              o App stores owned and operated by Company
                              o
                              o An
                              o       application that
                                  An application  that has been approved
                                                       has been           in writing
                                                                approved in  writing by
                                                                                     by Google
                                                                                        Google for
                                                                                               for a
                                                                                                   a waiver."
                                                                                                     waiver."

             1.7      Section 4.1 (Text Spec). The first line of Section 4.1 of the Incentive Implementation
                      Requirements is deleted in its entirety
                                                     entirety and replaced with the
                                                                                the following:

                      "The following text spec MUST be included on web assets and/or user manuals in connection
                      with Foundation Tier Devices and Premier Tier Devices:

                          •e   Text spec: "with easy
                                                easy access
                                                     access to the
                                                               the Google apps
                                                                          apps you use
                                                                                   use most".
                                                                                       most".


             2.       Telecom Operators' Device Ranging Exception

             2.1      Company
                      Company represents and  and warrants
                                                   warrants that its initial device ranging
                                                                                      ranging proposals to to Telecom
                                                                                                              Telecom
                      Operators
                      Operators will be in accordance
                                             accordance with
                                                          with all
                                                                 all requirements and
                                                                                   and obligations
                                                                                       obligations in this
                                                                                                      this Agreement,
                                                                                                           Agreement,
                      However, if, after discussing the initial proposals with the Telecom Operators, any Alternative
                      Function requirement, Default Function requirement, or Incentive Implementation Requirement
                      materially impacts Company's ability to obtain a     a Telecom Operator ranging decision for a  a
                      Device, Google will in good faith consider waiving such requirement for such Device in a a timely
                      manner provided Company provides evidence of such impact.

             2.2      For clarity, any waiver that
                                              that may be granted
                                                          granted by Google
                                                                     Google pursuant to
                                                                                     to Section 2.1
                                                                                                2.1 of
                                                                                                    of this
                                                                                                       this Attachment
                                                                                                            Attachment
                      D above will not disqualify a
                      D                            a Device that would otherwise qualify as a
                                                                                            a Foundation Tier Device
                      or a
                         a Premier Tier Device from being a   a Foundation Tier Device or aa Premier Tier Device, as
                      applicable.
                      applicable.




                                                                30
                                                                30




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'                                                                   MOTO-NDCAL-002071
                                                                                                  MOTO-N            38
                                                                                                         DCAL-00207138

                                                                                                              EXHIBIT 1231-038
DocuSign Envelope
DocuSign          ID: D7
         Envelope ID: D7AC4332-E5A1  -4589-8FBA-B68EE47F3C34
                         AC4332-E5A 1-4589-8FBA-B68EE4 7F3C34
               Case 3:20-cv-05671-JD Document 622-75 Filed 12/21/23 Page 39 of 39
             Google Confidential


                                                                     E
                                                          ATTACHMENT E

                                        INCENTIVE IMPLEMENTATION REQUIREMENTS



                                                           See attachment.
                                                           See attachment.




                                                                 31




                      ATTORNEYS' EYES ONLY
HIGHLY CONFIDENTIAL -ATTORNEYS'    -                                            MOTO-NDCAL-002071
                                                                                MOTO-N            39
                                                                                       DCAL-00207139

                                                                                       EXHIBIT 1231-039
